Case 17-34665-KLP                Doc 5922       Filed 12/11/18 Entered 12/11/18 15:37:16                      Desc Main
                                              Document      Page 1 of 49


     Edward O. Sassower, P.C.                                     James H.M. Sprayregen, P.C.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)             Anup Sathy, P.C.
     Emily E. Geier (admitted pro hac vice)                       Chad J. Husnick, P.C. (admitted pro hac vice)
     KIRKLAND & ELLIS LLP                                         KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP                           KIRKLAND & ELLIS INTERNATIONAL LLP
     601 Lexington Avenue                                         300 North LaSalle
     New York, New York 10022                                     Chicago, Illinois 60654
     Telephone:         (212) 446-4800                            Telephone:          (312) 862-2000
     Facsimile:         (212) 446-4900                            Facsimile:          (312) 862-2200

     -and-

     Michael A. Condyles (VA 27807)
     Peter J. Barrett (VA 46179)
     Jeremy S. Williams (VA 77469)
     KUTAK ROCK LLP
     901 East Byrd Street, Suite 1000
     Richmond, Virginia 23219-4071
     Telephone:          (804) 644-1700
     Facsimile:          (804) 783-6192

     Co-Counsel to the Debtors and Debtors in Possession

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                             )
     In re:                                                                  )     Chapter 11
                                                                             )
     TOYS “R” US, INC., et al.,1                                             )     Case No. 17-34665 (KLP)
                                                                             )
                                 Debtors.                                    )     (Jointly Administered)
                                                                             )

                   DEBTORS’ MOTION FOR ENTRY OF AN ORDER
            (I) APPROVING THE SETTLEMENT AGREEMENT BETWEEN
           THE DEBTORS, THE AD HOC GROUP OF TAJ NOTEHOLDERS,
          THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, AND
     THE AD HOC GROUP OF B-4 LENDERS AND (II) GRANTING RELATED RELIEF

              The above-captioned debtors and debtors in possession (collectively, the “Debtors”) 2

 respectfully state as follows in support of this motion (this “Motion”):


 1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting
        Related Relief [Docket No. 78]. The location of the Debtors’ service address is One Geoffrey Way, Wayne, New
        Jersey 07470.

 2
        A detailed description of the Debtors and their business, and the facts and circumstances supporting the Debtors’
        chapter 11 cases, are set forth in greater detail in: (i) the Declaration of David A. Brandon, Chief Executive
Case 17-34665-KLP          Doc 5922       Filed 12/11/18 Entered 12/11/18 15:37:16                    Desc Main
                                        Document      Page 2 of 49


                                              Relief Requested

         1.        By this Motion, the Debtors respectfully seek entry of an order, substantially in the

 form attached as Exhibit A hereto (the “Order”): (a) approving the settlement agreement attached

 to the Order as Exhibit 1 (the “Intercompany Settlement Agreement”); and (b) granting

 related relief.

                                          Jurisdiction and Venue

         2.        The United States Bankruptcy Court for the Eastern District of Virginia (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing

 Order of Reference from the United States District Court for the Eastern District of Virginia, dated

 July 10, 1984. The Debtors confirm their consent, pursuant to Rule 7008 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Court in

 connection with this Motion to the extent that it is later determined that the Court, absent consent

 of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

 III of the United States Constitution.

         3.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.        The bases for the relief requested herein are sections 105(a) and 363(b) of the

 Bankruptcy Code, Bankruptcy Rule 9019, and rule 9019-1 of the Local Rules of the United States

 Bankruptcy Court for the Eastern District of Virginia (the “Local Bankruptcy Rules”).




     Officer of Toys “R” Us, Inc., in Support of Chapter 11 Petitions and First Day Motions [Docket No. 20] (the
     “Brandon Declaration”); and (ii) the Declaration of Michael J. Short, Chief Financial Officer of Toys “R” Us,
     Inc., in Support of First Day Motions [Docket No. 30] (the “Short Declaration” and together with the Brandon
     Declaration, the “First Day Declarations”), filed contemporaneously with the Debtors’ voluntary petitions for
     relief filed under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), on September 18,
     2017 (the “Petition Date”).
Case 17-34665-KLP          Doc 5922       Filed 12/11/18 Entered 12/11/18 15:37:16                     Desc Main
                                        Document      Page 3 of 49


                                                  Background

                  5.      After more than a year of inter-silo disputes related to a multitude of issues,

 the Debtors, their key stakeholders, and the Official Committee of Unsecured Creditors (the

 “Creditors’ Committee”) have reached a comprehensive agreement reflecting a balanced

 resolution of all issues, thereby paving the way for the conclusion of these cases. Among other

 things, the intercompany settlement agreement resolves all matters concerning licensing

 agreements between Toys (Labuan) Holding Limited (the “Asia JV”), its subsidiaries, and

 Geoffrey, LLC (“Geoffrey”), source-code-ownership, private-label goods and trademarks, and all

 other intercompany issues (including professional-fee allocation).

         6.       The Debtors engaged in extensive negotiations with their stakeholders over the year

 in hopes of reaching a consensual resolution of these issues and avoiding protracted litigation.

 And after these extensive discussions, various Debtors, the Taj Holders Steering Group,3 the Asia,

 JV, the Creditors’ Committee, TRU GSO (HK) Limited and certain other non-Debtor subsidiaries,

 and the Ad Hoc Group of B-4 Lenders (together, the “Settlement Parties”), have agreed on the

 terms of the Intercompany Settlement Agreement. Approval of the Intercompany Settlement

 Agreement goes hand in hand with the TRU Inc. Debtors4 and Taj Debtors’5 plan.

         7.       If approved, the Intercompany Settlement Agreement will provide, among other

 things, the following:

              •   Geoffrey will enter into new license agreements with the Asia JV and certain of its

 3
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Intercompany
     Settlement Agreement.

 4
     The “TRU Inc. Debtors” include TRU Inc., MAP 2005 Real Estate, LLC, Toys “R” Us - Value, Inc., and TRU
     Mobility, LLC.

 5
     The “Taj Debtors” are TRU Europe, Tru Taj LLC, Tru Taj Finance, Inc., TRU Taj Holdings 1, LLC, TRU Taj
     Holdings 2, Ltd., TRU Taj Holdings 3, LLC, TRU Asia, LLC, and TRU Taj (Europe) Holdings, LLC.
Case 17-34665-KLP     Doc 5922      Filed 12/11/18 Entered 12/11/18 15:37:16             Desc Main
                                  Document      Page 4 of 49


              subsidiaries, as well as the French business;

          •   the new license agreements will have a fixed 15-year term, subject to extension by
              the Asia JV after the 15-year term, and will have other amended terms as set forth
              in the Settlement Agreement;

          •   the Asia JV and/or its subsidiaries will pay Geoffrey a 2% net royalty rate under
              the new licensing agreements;

          •   the Asia JV will relinquish its rights to $26,279,192 it claims it is owed by Geoffrey
              under the Subsidy Agreement;

          •   the Asia JV or its subsidiaries will pay $3,720,808 to Geoffrey on the effective date
              of the Plan;

          •   the Asia JV and/or its subsidiaries will pay $6,000,000 to Toys “R” Us - Delaware,
              Inc. (“Toys Delaware”) on April 30, 2019 (subject to Toys Delaware’s compliance
              with certain transition services obligations referenced below);

          •   the Taj Debtors will pay Toys Delaware $3 million in settlement of certain
              professional fee allocation disputes;

          •   Toys Delaware will deliver the Source Code and Oracle Data to the Asia JV or its
              subsidiaries, which, following receipt of the Source Code and Oracle Data, will pay
              Toys Delaware $5 million, plus unpaid invoiced amounts under the ITASSA
              (which total approximately $7.6 million);

          •   Toys Delaware will enter into a transition services agreement to provide existing
              IT services to the Asia JV or its subsidiaries, as well as transition and migration
              services set forth in the Settlement Agreement or appended Statement of Work, and
              the Asia JV or its subsidiaries will pay Toys Delaware a $1.5 million monthly fee
              payable as of December 1, 2018;

          •   Geoffrey and the Asia JV will work in good faith to document their future private-
              label relationship, including the Asia JV’s ability to source private-label goods and
              use trademarks, based on certain agreed-upon principles set forth in the Settlement
              Agreement;

          •   funds of MAP 2005 Real Estate, LLC (“MAP 2005”) will be used to resolve certain
              intercompany fee allocation disputes, including through payment to Toys Delaware
              of $1.25 million, as well as payment to the Taj Debtors of $1.25 million (which
              shall be contributed to TRU Inc. as set forth below);

          •   the Taj Debtors and Taj Noteholders will provide a $1.25 million payment to be
              contributed to TRU, Inc. as a fund for creditors of TRU Inc. (to be distributed in
              accordance with the Intercompany Settlement Agreement and Plan) (the “Taj
              Settlement Consideration”);
Case 17-34665-KLP              Doc 5922      Filed 12/11/18 Entered 12/11/18 15:37:16                         Desc Main
                                           Document      Page 5 of 49


                 •   the Ad Hoc Group of B-4 Lenders and the Creditors’ Committee will withdraw
                     their objections to the Plan;

                 •   each Debtor will mutually release each other Debtor of all intercompany claims and
                     causes of action (except those explicitly reserved); and

                 •   the Taj Debtors and the Asia JV and its direct and indirect subsidiaries will
                     exchange mutual releases with the TRU Inc. Debtors, Toys Delaware Debtors, and
                     Geoffrey Debtors, as set forth more fully in the Settlement Agreement.6

            8.       The Intercompany Settlement Agreement was negotiated in good faith and at arm’s

 length, and is well within the range of reasonableness. Moreover, the Taj Debtors and TRU Inc.

 Debtors have modified the Plan to incorporate the Intercompany Settlement Agreement. The

 Settlement Parties respectfully request that the Court enter an order approving the Intercompany

 Settlement Agreement and granting the other relief requested in this Motion.

                                  The Intercompany Settlement Agreement

            9.       The material terms of the Intercompany Settlement Agreement are summarized

 below:7

     Provision                    Summary Description
     Intercompany-Claims          In exchange for the consideration provided in the Intercompany Settlement
     Settlement, Settlement       Agreement, the Debtors will mutually release all claims (except those explicitly
     Party Stipulations           preserved). Furthermore, the Asia JV and the Debtors will mutually release all
                                  claims against each other (except as set forth in the Intercompany Settlement
     ¶ 3.1(a)–(h)                 Agreement).

                                  The Intercompany Settlement Agreement resolves all outstanding disputes between
                                  the Debtors regarding allocation of professional fees and expenses, and no
                                  Settlement Party will challenge the professional-fee allocation existing at the date of
                                  signing.
     Taj Senior Notes Claims      Holders of Taj senior notes claims waive all recovery rights related to specific claims
                                  against TRU Inc.


 6
        The Plan has been amended to remove the release carve-outs relating to the Toys Delaware Debtors and Geoffrey
        Debtors, and both the order confirming the Plan and the order approving the Intercompany Settlement Agreement
        are binding on each of the Debtors and on all parties in interest in their respective cases.

 7
        This summary is being provided for convenience only. In the event of any conflict between anything contained
        in the Motion—including this summary—and the Intercompany Settlement Agreement, the Intercompany
        Settlement Agreement shall control. Additional terms are also set forth in the Intercompany Settlement
        Agreement.
Case 17-34665-KLP         Doc 5922      Filed 12/11/18 Entered 12/11/18 15:37:16                        Desc Main
                                      Document      Page 6 of 49



  Provision                  Summary Description
  ¶ 3.1(c)
  Treatment of Certain       TRU Inc. will pay a specified portion of Administrative Claims for state or federal
  Administrative Claims      taxes, if any, for which TRU Inc. and any other Debtor or Debtors are liable.

  ¶ 3.1(e)                   Administrative claims timely asserted by LEGO and Mattel against TRU Inc. will be
                             allowed as general unsecured claims against TRU Inc. in an amount to be agreed by
                             separate stipulation by the Debtors, LEGO, and Mattel.
  Cash Consideration to      The Asia JV or its subsidiaries shall pay: (1) $3,720,808 to Geoffrey, LLC (or its
  Geoffrey                   designated successor) on the effective date of the Plan, and (2) $6,000,000 to
                             Geoffrey, LLC (or its designated successor) no later than, as applicable (i) April 30,
  ¶ 3.2(a)                   2019, so long as Toys Delaware or its applicable successor has completed
                             performance with respect to the SOW and is then in compliance with the Transition
                             Services Agreement in all material respects or (ii) if not paid in accordance with
                             clause (i), promptly following the completion of performance with respect to the
                             SOW and/or the cure or remedy of any applicable material breach of the Transition
                             Services Agreement.

  Relinquishment of Asia     Geoffrey, LLC or its successor shall retain and take title to, and the Asia JV shall
  JV Rights to Geoffrey-JV   waive and relinquish all rights to, the entirety of the Geoffrey-JV Accrued Amount
  Accrued Amount             of $26,279,192 which is all amounts owing under the Subsidy Agreement through
  ¶ 3.2(b)                   November 30, 2018.


  Allocation-related         On the Plan Effective Date, the Taj Debtors shall pay to Toys Delaware, in settlement
  Payment to Toys            of certain fee allocation issues and disputes among the Debtors, $3 million in respect
  Delaware                   of the fees and expenses charged, or to be charged, by Prime Clerk LLC in the
                             Chapter 11 Cases.
  ¶ 3.2(c)
  License Agreement          Geoffrey will enter into an amended Master License Agreement with the Asia JV
                             and/or its subsidiaries in on the terms set forth in the Intercompany Settlement
  ¶ 3.3(a)                   Agreement.
  Transition Services        Toys Delaware and the Asia JV and its subsidiaries will enter into a transition
  Agreement                  services agreement on the terms set forth in the Settlement Agreement.

  ¶ 3.3(b)
  Private Label              The Asia JV and Geoffrey will work cooperatively to document and clarify their
                             future relationship with respect to private-label goods, in accordance with specific
  ¶ 3.3(c)                   principles detailed in the Intercompany Settlement Agreement.
  Information Rights         The Asia JV will provide certain financial information to Geoffrey as set forth in the
                             Intercompany Settlement Agreement.
  ¶ 3.3(d)
  France Issues              Geoffrey shall enter into a license agreement with Jellej Jouets based on the terms
                             attached to the Intercompany Settlement Agreement as Exhibit 3, with such terms
  ¶ 3.3(f)                   becoming applicable as of January 15, 2019. Prior to January 15, 2019, the License
                             Agreement dated February 1, 2009, as amended December 21, 2010, shall remain in
                             effect in France.
  Allocation of Cash at      The cash at MAP 2005 will be allocated to resolve certain disputes relating to the
  MAP 2005                   allocation of professional fees across the Debtors. The remaining balance of MAP
                             2005’s cash will be distributed in accordance with the Priority Waterfall in the
  ¶ 3.4(a)                   Plan, subject to the modifications provided in the Intercompany Settlement
                             Agreement.
  Proceeds from TRU          Any proceeds from TRU (Vermont), Inc. will be distributed to TRU Inc., following
  (Vermont), Inc. Wind-      the wind-down of TRU (Vermont), and then distributed in accordance with the
Case 17-34665-KLP              Doc 5922     Filed 12/11/18 Entered 12/11/18 15:37:16                     Desc Main
                                          Document      Page 7 of 49



      Provision                  Summary Description
      Down                       Priority Waterfall in the plan, subject to the modifications provided in the
                                 Intercompany Settlement Agreement.
      ¶ 3.4(b)
      Plan Conformity with       The TRU Inc. Plan will conform to the Intercompany Settlement Agreement.
      Settlement Agreement

      ¶ 3.6(a)(2)
      U.K. Issues                The Debtors will work in good faith with the Taj Noteholders to resolve U.K. issues
                                 and matters.
      ¶ 3.6(a)(3)
      Extension of Challenge     The challenge period will be extended as provided in the Intercompany Settlement
      Period                     Agreement.

      ¶ 3.6(c)
      Governing Law              New York law.

      ¶ 4.8

              10.   The Settlement Parties believe, in their business judgment and after substantial

     analysis, that entering into the Intercompany Settlement Agreement is reasonable under these

     circumstances and respectfully request that the Court approve the Intercompany Settlement

     Agreement and all other relief requested in this Motion. The Intercompany Settlement Agreement

     will allow all interested parties to avoid the uncertainty and costs of prolonged litigation among

     the various Debtors and their stakeholders, thus ultimately providing the stability integral to any

     successful restructuring. By drastically mitigating the threat of adverse intercompany litigation

     that could jeopardize the Plan, the Intercompany Settlement Agreement inures to the benefit of all

     stakeholders in these chapter 11 cases.

              11.   Accordingly, the Debtors believe that entry into the Intercompany Settlement

     Agreement is in the best interests of the Debtors’ estates, their creditors, and other parties in

     interest.

                                                 Basis for Relief

I.            Entry into the Intercompany Settlement Agreement Is in the Best Interests of the
              Debtors’ Estates.

              12.   Bankruptcy Rule 9019 provides, in relevant part:
Case 17-34665-KLP       Doc 5922      Filed 12/11/18 Entered 12/11/18 15:37:16             Desc Main
                                    Document      Page 8 of 49


                On motion by the [debtor in possession] and after notice and a
                hearing, the court may approve a compromise or Settlement
                Agreement. Notice shall be given to creditors, the United States
                trustee, . . . and indenture trustee as provided in Rule 2002 and to
                any other entity as the court may direct.

                Fed. R. Bankr. P. 9019(a).

         13.    Compromises are tools for expediting the administration of the case and reducing

 administrative costs, and are favored in bankruptcy. See In re Bond, 16 F.3d 408, 1994 WL 20107,

 at *3 (4th Cir. 1994) (unpublished table decision) (“To minimize litigation and expedite the

 administration of a bankruptcy estate, compromises are favored in bankruptcy.” (internal quotation

 marks omitted)); see also In re Frye, 216 B.R. 166, 172 (Bankr. E.D. Va. 1997) (citing Richardson

 v. Richardson, 10 Va. App. 391, 399 (1990)). The Debtors believe that the Intercompany

 Settlement Agreement represents a fair and reasonable compromise of the Parties’ competing

 interests.

         14.    In order to approve the Intercompany Settlement Agreement under Bankruptcy

 Rule 9019, a court must determine that the Intercompany Settlement Agreement is in the “best

 interest of the estate” and is “fair and equitable.” In re Frye, 216 B.R. at 174. Among the relevant

 factors considered by bankruptcy courts in the Eastern District of Virginia are “the interests of

 creditors with proper deference to their reasonable views” and “the complexity, time and expense

 of the litigation.” In re Three Rivers Woods, Inc., No. 98-38685 (DOT), 2001 WL 720620, at *6

 (Bankr. E.D. Va. 2001) (quoting In re Austin, 186 B.R. 397, 400 (Bankr. E.D. Va. 1995)). In

 determining whether to approve a proposed settlement, however, the bankruptcy court should not

 substitute its judgment for that of the debtor. See In re Carla Leather, Inc., 44 B.R. 457, 465

 (Bankr. S.D.N.Y. 1984). Instead, rather than conduct “a mini-trial” of the lawsuit at issue, “[t]he

 Court’s fundamental determination is . . . whether the settlement falls ‘below the lowest point in
Case 17-34665-KLP        Doc 5922     Filed 12/11/18 Entered 12/11/18 15:37:16             Desc Main
                                    Document      Page 9 of 49


 the range of reasonableness.’” In re Three Rivers Woods, 2001 WL 720620, at *6 (quoting In re

 Austin, 186 B.R. at 400).

        15.     Additionally, section 363(b)(1) of the Bankruptcy Code authorizes a bankruptcy

 court, after notice and a hearing, to authorize a debtor to “use, sell, or lease, other than in the

 ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1). To approve a use, sale

 or lease of property other than in the ordinary course of business, the court must find “some sound

 business purpose” that satisfies the business judgment test. See In re W.A. Mallory Co., 214 B.R.

 834, 836 (Bankr. E.D. Va. 1997); see also In re Glover, No. 09-74787, 2010 WL 5239918, at *4

 (Bankr. E.D. Va. 2010) (“The standard in this Circuit is whether the debtor in possession has

 exercised sound business judgment.” (citing Lubrizol Enters., Inc. v. Richmond Metal Finishers,

 Inc., 756 F.2d 1043, 1046 (4th Cir. 1985))). Courts generally show great deference to a debtor’s

 decisions when applying the business judgment standard. See In re Alpha Nat. Res., Inc., 546 B.R.

 348, 356 (Bankr. E.D. Va. 2016) (“Courts apply the deferential business judgment test when

 analyzing transactions under § 363(b)(1).”). Deference to a debtor’s business judgment is

 inappropriate only if such business judgment is “so manifestly unreasonable that it could not be

 based on sound business judgment, but only on bad faith, or whim or caprice.” Lubrizol Enters.,

 756 F.2d at 1047.

        16.     The Debtors believe that the Intercompany Settlement Agreement is fair, equitable,

 in the best interests of the Debtors’ estates, and easily falls within the range of reasonable

 outcomes. As set forth above, the Intercompany Settlement Agreement is the culmination of more

 than a year of hard-fought, good-faith negotiation among the Settlement Parties, embodying a

 resolution that is highly preferable to complex and unpredictable litigation that could have a value-

 destructive effect on the Debtors’ remaining businesses. The settlement resolves a variety of
Case 17-34665-KLP         Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                Desc Main
                                  Document    Page 10 of 49


 disputes relating to, among other things, licensing arrangements, certain releases in the Plan, the

 substantial contribution payment to Cyrus Capital L.P., and the allocation of certain professional

 fees to date. The Intercompany Settlement Agreement also establishes the framework of the

 various Debtors’ go-forward business relationship—and resolves significant ongoing disputes

 regarding that relationship—as it addresses the provision of transition services to the Asia JV or

 its subsidiaries; the new licensing agreement between Geoffrey and the Asia JV and/or its

 subsidiaries; the private-label arrangements; and the ownership of the Source Code.             The

 Intercompany Settlement Agreement resolves all of these complex, multi-party disputes and, thus,

 is exactly the sort of settlement that a bankruptcy court should approve. Accord In re Three Rivers

 Woods, Inc., 2001 WL 720620, at *6 (when evaluating the merits of a proposed settlement,

 bankruptcy courts in the Eastern District of Virginia look to “the interests of creditors with proper

 deference to their reasonable views” and “the complexity, time and expense of the litigation”

 (quoting In re Austin, 186 B.R. at 400)).

        17.       Once this Court approves the Intercompany Settlement Agreement, the Debtors and

 the rest of the Settlement Parties will be able to allocate their resources toward resolving any

 remaining issues and expeditiously confirming and consummating the chapter 11 plans. All use

 of the Debtors’ property contemplated by the Intercompany Settlement Agreement and any

 stipulations contemplated thereby is, in the Debtors’ business judgment, appropriate given the

 circumstances.

        18.       For the foregoing reasons, the Debtors respectfully submit that the Intercompany

 Settlement Agreement satisfies the standards for approval under applicable law and that the Court

 should therefore approve the Intercompany Settlement Agreement pursuant to sections 105 and

 363 of the Bankruptcy Code and Bankruptcy Rule 9019.
Case 17-34665-KLP        Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                  Desc Main
                                 Document    Page 11 of 49


                                                Notice

        19.     The Debtors will provide notice of this Motion via first class mail and email (where

 available) to: (a) the Office of the United States Trustee for the Eastern District of Virginia, Attn:

 Robert B. Van Arsdale and Lynn A. Kohen; (b) counsel to the Creditors’ Committee; (d) DIP Taj

 Term Loan Agent and the advisors and counsel thereto; (f) the indenture trustee for the TRU Taj

 12.00% Senior Notes and the advisors and counsel thereto; (g) the administrative agent for the

 prepetition Secured Revolving Credit Facility and the advisors and counsel thereto; (h) the

 administrative agent for the prepetition Secured Term Loan B Facility and the advisors and counsel

 thereto; (l) the administrative agent for the prepetition European and Australian Asset-Based

 Revolving Credit Facility and the advisors and counsel thereto; (m) the administrative agent for

 the Senior Unsecured Term Loan Facility and the advisors and counsel thereto; (n) the indenture

 trustee for the Debtors’ 7.375% Senior Notes and the advisors and counsel thereto; (o) the

 indenture trustee for the Debtors’ 8.75% Unsecured Notes and the advisors and counsel thereto;

 (p) counsel to the Ad Hoc Group of the Term B-4 Holders; (q) counsel to the Taj Holders Steering

 Committee; (r) the Internal Revenue Service; (s) the office of the attorneys general for the states

 in which the Debtors operate; (t) the Securities and Exchange Commission; (u) counsel to the Ad

 Hoc Group of B-4 Lenders; and (v) counsel to the Asia JV, Toys “R” Us (Asia) Limited, and Toys

 “R” Us Japan, Limited, and (w) any party that has requested notice pursuant to Bankruptcy Rule

 2002. The Debtors submit that, in light of the nature of the relief requested, no other or further

 notice need be given.

                            [Remainder of page intentionally left blank.]
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16            Desc Main
                                Document    Page 12 of 49


        WHEREFORE, the Debtors respectfully request that the Court enter the Orders granting

 the relief requested herein and such other relief as the Court deems appropriate under the

 circumstances.

Richmond, Virginia
Dated: December 11, 2018

/s/ Jeremy S. Williams
KUTAK ROCK LLP                                  KIRKLAND & ELLIS LLP
Michael A. Condyles (VA 27807)                  KIRKLAND & ELLIS INTERNATIONAL LLP
Peter J. Barrett (VA 46179)                     Edward O. Sassower, P.C.
Jeremy S. Williams (VA 77469)                   Joshua A. Sussberg, P.C. (admitted pro hac vice)
901 East Byrd Street, Suite 1000                Emily E. Geier (admitted pro hac vice)
Richmond, Virginia 23219-4071                   601 Lexington Avenue
Telephone:         (804) 644-1700               New York, New York 10022
Facsimile: (804) 783-6192                       Telephone:    (212) 446-4800
Email:       Michael.Condyles@KutakRock.com     Facsimile:    (212) 446-4900
              Peter.Barrett@KutakRock.com       Email:        edward.sassower@kirkland.com
              Jeremy.Williams@KutakRock.com                   joshua.sussberg@kirkland.com
                                                              emily.geier@kirkland.com
 Co-Counsel to the Debtors
 and Debtors in Possession                      -and-

                                                James H.M. Sprayregen, P.C.
                                                Anup Sathy, P.C.
                                                Chad J. Husnick, P.C. (admitted pro hac vice)
                                                300 North LaSalle
                                                Chicago, Illinois 60654
                                                Telephone:       (312) 862-2000
                                                Facsimile:       (312) 862-2200
                                                Email:         james.sprayregen@kirkland.com
                                                               anup.sathy@kirkland.com
                                                               chad.husnick@kirkland.com


                                                Co-Counsel to the Debtors and Debtors in
                                                Possession
Case 17-34665-KLP   Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16   Desc Main
                            Document    Page 13 of 49


                                    Exhibit A

                                 Proposed Order
Case 17-34665-KLP             Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                             Desc Main
                                      Document    Page 14 of 49


 Edward O. Sassower, P.C.                                      James H.M. Sprayregen, P.C.
 Joshua A. Sussberg, P.C. (admitted pro hac vice)              Anup Sathy, P.C.
 Emily E. Geier (admitted pro hac vice)                        Chad J. Husnick, P.C. (admitted pro hac vice)
 KIRKLAND & ELLIS LLP                                          KIRKLAND & ELLIS LLP
 KIRKLAND & ELLIS INTERNATIONAL LLP                            KIRKLAND & ELLIS INTERNATIONAL LLP
 601 Lexington Avenue                                          300 North LaSalle
 New York, New York 10022                                      Chicago, Illinois 60654
 Telephone:         (212) 446-4800                             Telephone:          (312) 862-2000
 Facsimile:         (212) 446-4900                             Facsimile:          (312) 862-2200

 -and-

 Michael A. Condyles (VA 27807)
 Peter J. Barrett (VA 46179)
 Jeremy S. Williams (VA 77469)
 KUTAK ROCK LLP
 901 East Byrd Street, Suite 1000
 Richmond, Virginia 23219-4071
 Telephone:          (804) 644-1700
 Facsimile:          (804) 783-6192

 Co-Counsel to the Debtors and Debtors in Possession

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                                          )
 In re:                                                                   )     Chapter 11
                                                                          )
 TOYS “R” US, INC., et al.,1                                              )     Case No. 17-34665 (KLP)
                                                                          )
                             Debtors.                                     )     (Jointly Administered)
                                                                          )

                           ORDER (I) APPROVING
                THE SETTLEMENT AGREEMENT BETWEEN THE
             DEBTORS, THE AD HOC GROUP OF TAJ NOTEHOLDERS,
          THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, AND
     THE AD HOC GROUP OF B-4 LENDERS AND (II) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

 (collectively, the “Debtors”) for entry of an order (this “Order”): (a) approving the Intercompany



 1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting
      Related Relief [Docket 78]. The location of the Debtors’ service address is One Geoffrey Way, Wayne, New
      Jersey 07470.

 2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the


                                                           1
Case 17-34665-KLP           Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                            Desc Main
                                    Document    Page 15 of 49


 Settlement Agreement and authorizing the Debtors to perform thereunder; and (b) granting related

 relief, all as more fully set forth in the Motion; and this Court having jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference from the United States

 District Court for the Eastern District of Virginia, dated July 10, 1984; and this Court having found

 that it may enter a final order consistent with Article III of the United States Constitution; and this

 Court having found that venue of this proceeding and the Motion in this district is proper pursuant

 to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

 is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

 Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

 Motion were appropriate under the circumstances and that no other notice need be provided; and

 this Court having reviewed the Motion and having heard the statements in support of the relief

 requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

 that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

 the relief granted herein; and upon all of the proceedings had before this Court; and after due

 deliberation and sufficient cause appearing therefor, the Court hereby makes and issues the

 following findings of fact, conclusions of law, and orders:

                  I.       FINDINGS OF FACT AND CONCLUSIONS OF LAW

 NOW, THEREFORE, THIS COURT HEREBY FINDS AND CONCLUDES THAT:3

         A.       The legal and factual bases set forth in the Motion establish just and sufficient cause

 to grant the relief requested therein.




     Intercompany Settlement Agreement, as applicable.

 3
     Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings
     of fact, as appropriate, pursuant to Bankruptcy Rule 7052.




                                                          2
Case 17-34665-KLP        Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                Desc Main
                                 Document    Page 16 of 49


           B.   Notice of the Motion is sufficient notice of the Intercompany Settlement Agreement

 and no other notice is required.

           C.   Parties-in-interest were afforded a full opportunity to participate in the Hearing on

 the Motion.

           D.   The Intercompany Settlement Agreement was negotiated in good faith and at arm’s

 length.

           E.   Based on the range of possible outcomes and the cost, delay, and uncertainty

 associated with further litigation, the Intercompany Settlement Agreement is fair, well within the

 range of reasonableness, and cost-effective, and approval of the Intercompany Settlement

 Agreement is warranted.

           F.   Other good and sufficient cause exists for granting the relief requested in the

 Motion.

                                          II.    ORDER

           BASED ON THE FOREGOING FINDINGS OF FACT, IT IS THEREFORE

 ORDERED, ADJUDGED, AND DECREED THAT:

           1.   The Motion is granted as set forth herein.

           2.   The Intercompany Settlement Agreement attached hereto as Exhibit 1 is approved

 pursuant to sections 363 and 105(a) of the Bankruptcy Code and in accordance with Bankruptcy

 Rule 9019.

           3.   The Settlement Parties are authorized to enter into the Transition Services

 Agreement on the terms described in the Intercompany Settlement Agreement.

           4.   The Settlement Parties are authorized to enter into the amended License Agreement

 on the terms described in the Intercompany Settlement Agreement.




                                                  3
Case 17-34665-KLP         Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                  Document    Page 17 of 49


         5.      The Settlement Parties are hereby authorized and directed to enter into, perform

 under, execute, and deliver the Intercompany Settlement Agreement.

         6.      The Settlement Parties are authorized and directed to take any and all actions as

 may be necessary to effectuate and implement the Intercompany Settlement Agreement and the

 relief grant in this Order.

         7.      The releases set forth in the Plan and the Intercompany Settlement Agreement are

 binding on each of the Debtors and all parties in interest in their respective chapter 11 cases.

         8.      The Bankruptcy Court shall have and shall retain exclusive jurisdiction over the

 Intercompany Settlement Agreement and this Order.

         9.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and of the Intercompany Settlement Agreement, and the requirements of the Local

 Rules Bankruptcy Rule 6004(a) are satisfied by such notice.

         10.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

 are immediately effective and enforceable upon its entry.

         11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.


 Dated: _____________________
 Richmond, Virginia                            UNITED STATES BANKRUPTCY JUDGE




                                                   4
Case 17-34665-KLP             Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                      Desc Main
                                      Document    Page 18 of 49


 WE ASK FOR THIS:

 /s/ Jeremy S. Williams

 Michael A. Condyles (VA 27807)
 Peter J. Barrett (VA 46179)
 Jeremy S. Williams (VA 77469)
 KUTAK ROCK LLP
 901 East Byrd Street, Suite 1000
 Richmond, Virginia 23219-4071
 Telephone:          (804) 644-1700
 Facsimile:          (804) 783-6192

 - and -

 Edward O. Sassower, P.C.
 Joshua A. Sussberg, P.C. (admitted pro hac vice)
 Emily E. Geier (admitted pro hac vice)
 KIRKLAND & ELLIS LLP
 KIRKLAND & ELLIS INTERNATIONAL LLP
 601 Lexington Avenue
 New York, New York 10022
 Telephone:         (212) 446-4800
 Facsimile:         (212) 446-4900

 - and -

 James H.M. Sprayregen, P.C.
 Anup Sathy, P.C.
 Chad J. Husnick, P.C. (admitted pro hac vice)
 KIRKLAND & ELLIS LLP
 KIRKLAND & ELLIS INTERNATIONAL LLP
 300 North LaSalle
 Chicago, Illinois 60654
 Telephone:          (312) 862-2000
 Facsimile:          (312) 862-2200


 Co-Counsel to the Debtors and Debtors in Possession


                                    CERTIFICATION OF ENDORSEMENT
                                 UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

         Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing proposed order has been
 endorsed by or served upon all necessary parties.



                                                                /s/ Jeremy S. Williams
Case 17-34665-KLP   Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16   Desc Main
                            Document    Page 19 of 49


                                    Exhibit 1

                        Intercompany Settlement Agreement
Case 17-34665-KLP      Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16 Desc Main
                               Document    Page 20 of 49
                                                                  Execution Version


                                SETTLEMENT AGREEMENT

                                          PREAMBLE

      This settlement agreement (this “Settlement Agreement”), is made and entered into as of
 December 11, 2018, by and among the following parties:

        (a)            (i) Toys “R” Us, Inc. (“TRU Inc.”), (ii) MAP 2005 Real Estate, LLC
               (“MAP 2005”), (iii) Toys “R” US - Value, Inc., (iv) TRU Mobility, LLC (those
               entities identified in subclauses (i)-(iv), the “TRU Inc. Debtors”), (v) Geoffrey
               Holdings, LLC, (vi) Geoffrey, LLC; and (vii) Geoffrey International, LLC (those
               entities identified in subclauses (v)-(vii), the “Geoffrey Debtors”); (viii) Toys “R”
               Us - Delaware Inc. (“Toys Delaware”), (ix) Giraffe Holdings, LLC, (x) Toys
               Acquisition, LLC, (xi) TRU - SVC, Inc., (xii) TRU Guam, LLC, (xiii) TRU of
               Puerto Rico, Inc. (those entities identified in subclasses (viii-xiii), the “Toys
               Delaware Debtors”), (xiv) Wayne Real Estate Parent Company, LLC, (xv) Toys
               “R” Us Europe, LLC, (xvi) Tru Taj LLC, (xvii) Tru Taj Finance, Inc., (xviii) Tru
               Taj Holdings 1, LLC, (xix) TRU Taj Holdings 2, Ltd., (xx) TRU Taj Holdings 3,
               LLC, (xxi) TRU Asia, LLC, (xxii) TRU Taj (Europe) Holdings, LLC (those
               entities identified in subclauses (xv) through (xxii), the “Taj Debtors”, and each of
               the foregoing entities identified in subclauses (i) through (xxii) individually, a
               “Debtor” and, collectively, the “Debtors”);

        (b)           Toys (Labuan) Holding Limited (the “Asia JV”);

        (c)           TRU GSO (HK) Limited (“GSO”), TRU GSO, LLC, TRU Global
               Sourcing Limited, TRU China Holdings, LLC, Toys “R” Us (China) Limited
               (“TRU China”), TRU Global Tooling, LLC and TRU Vermont, Inc. (“TRU Non-
               Debtor Subsidiaries”);

        (d)            the undersigned members of an ad hoc group of B-4 Lenders (the “Ad Hoc
               Group of B-4 Lenders”), comprised of funds and accounts (or holding companies
               thereof) managed or advised by Angelo, Gordon & Co., L.P.; Franklin Mutual
               Advisors, LLC; Highland Capital Management, LP; Oaktree Capital
               Management, L.P.; and Solus Alternative Asset Management LP, holding
               positions set forth in the Third amended Statement of Ad Hoc Group of B-4
               Lenders Pursuant to Bankruptcy Rule 2019 filed on June 29, 2018 [Docket
               No. 3637];

        (e)           Empyrean Capital Partners, LP and the undersigned members of an ad hoc
               group of Taj Senior Notes (the “Taj Holders Steering Group”), comprised of
               funds and accounts (or holding companies thereof) managed or advised by
               Barclays Bank PLC; Cerberus Capital Management LP; Cyrus Capital Partners,
               LP; Grantham, Mayo, Van Otterloo & Co. LLC; Rimrock Capital Management,
               LLC; TPG Sixth Street Partners, LLC; York Capital Management Global
               Advisors, LLC; holding positions set forth in the Sixth Amended Verified
Case 17-34665-KLP           Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                         Desc Main
                                    Document    Page 21 of 49


                  Statement of the Ad Hoc Group of Taj Noteholders Pursuant to Bankruptcy Rule
                  2019 filed on November 28, 2018 [Docket No. 5808];

         (f)            the official committee of unsecured creditors appointed in the Chapter 11
                  Cases (defined below) pursuant to the Appointment of Unsecured Creditors’
                  Committee [Docket No. 206] (the “Creditors’ Committee”); and

         (g)               any other parties whose signature pages are affixed hereto.

 Each of the foregoing are referred to herein as a “Party” and are collectively referred to herein as
 the “Parties.”

                                                   RECITALS

         WHEREAS, on September 18, 2017 (the “Petition Date”), the Debtors and certain of
 their direct and indirect subsidiaries filed voluntary petitions for relief under chapter 11 of
 title 11 of the United States Code (the “Chapter 11 Cases”) in the United States Bankruptcy
 Court for the Eastern District of Virginia (the “Bankruptcy Court”), which Chapter 11 Cases are
 being jointly administered and are captioned In re Toys “R” Us, Inc., et al., Case No. 17-34665
 (KLP);

          WHEREAS, on October 25, 2017, the Bankruptcy Court entered the Final DIP
 Financing Order (as defined below), pursuant to which (i) the Debtors stipulated to, among other
 things, the amount, validity, perfection, enforceability, and priority of the claims and liens of the
 Prepetition Secured Parties (as defined in the Final DIP Financing Order), and waived and
 released the Prepetition Secured Parties and their representatives from any claims or causes of
 action arising prior to the Petition Date, and (ii) all stipulations and releases by the Debtors were
 binding on all other parties in interest and the Creditors’ Committee, subject to the Creditors’
 Committee’s investigation of such claims and liens of the Prepetition Secured Noteholders and
 ability to commence an adversary proceeding or contested matter challenging such claims and
 liens (the “Challenge Period”);

        WHEREAS, with respect to the Taj Debtors, the Creditors’ Committee’s Challenge
 Period as it relates to the Prepetition Secured Noteholders under the Final DIP Financing Order
 was extended by stipulations through and including December 13, 2018;

        WHEREAS, pursuant to its investigation subject to the Challenge Period under the
 Final DIP Financing Order, the Creditors’ Committee identified various alleged claims and
 causes of action against, among others, the Prepetition Secured Noteholders, which claims are
 contested by such holders;

        WHEREAS, on September 6, 2018, the Debtors filed the Second Amended Joint Chapter
 11 Plan of the Taj Debtors and the TRU Inc. Debtors [Docket No. 4547] (as may be amended,
 modified, and supplemented from time to time, including to incorporate the terms of the
 Settlement Agreement, the “Plan”),1 and the Bankruptcy Court entered the Order (I) Approving


 1
     Capitalized terms used herein but not otherwise define have the meaning set forth in the Plan.



                                                          2
Case 17-34665-KLP        Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                   Desc Main
                                 Document    Page 22 of 49


 the Adequacy of the Disclosure Statement for the Joint Chapter 11 Plan of the Taj Debtors and
 the TRU Inc. Debtors, (II) Approving the Solicitation and Notice Procedures with Respect to
 Confirmation of the Taj Debtors and the TRU Inc. Debtors’ Proposed Joint Chapter 11 Plan,
 (III) Approving the Forms of Ballots and Notices in Connection Therewith, (IV) Approving the
 Rights Offering Procedures, (V) Scheduling Certain Dates with Respect Thereto, (VI) Shortening
 the Objection Periods and Notice Requirements Related Thereto, (VII) Authorizing the Backstop
 Commitment Agreement and the Payment of the Commitment Premium as Administrative
 Claims, and (VIII) Granting Related Relief [Docket No. 4572], approving the Disclosure
 Statement (as defined below), solicitation procedures, and related notices, forms, and ballots;

         WHEREAS, on March 24, 2017, the Asia JV, among other entities, entered into a master
 license agreement with Geoffrey (the “Master License Agreement”) which provides inter alia the
 exclusive right to use certain intellectual property in the licensed territories on the terms set forth
 in the Master License Agreement;

         WHEREAS, on March 24, 2017, Geoffrey entered into an agreement (the “Subsidy
 Agreement”) obligating Geoffrey to make payments to the Asia JV each fiscal year based upon
 the sales revenues of the subsidiaries of the Asia JV for such fiscal year (the “Geoffrey-JV
 Payment”);

       WHEREAS, on January 25, 2018, the Court entered the Order (I) Authorizing Geoffrey
 LLC To Assume The Intercompany IP License Agreements, And (II) Granting Related Relief
 [Docket No. 1610];

        WHEREAS, on January 25, 2018, the Court entered the Order (I) Authorizing Geoffrey,
 LLC to Assume the Subsidy Agreement and (II) Granting Related Relief [Docket No. 1609] (the
 “Subsidy Order”);

         WHEREAS, the Subsidy Order preserves for Geoffrey, “without limitation,” “any cause
 of action to avoid any obligation or transfer under” the Subsidy Agreement and “any other cause
 of action alleging that entry into or payments under . . . the Subsidy Agreement caused harm to
 Geoffrey,” in addition to “all claims, defenses, and arguments relating to” the Subsidy
 Agreement;

        WHEREAS, Geoffrey has not made any Geoffrey-JV Payments before or during these
 cases and owes the Asia JV an accrued amount of $26,279,192 under the Subsidy Agreement
 through November 30, 2018 (the “Geoffrey-JV Accrued Amount”);

         WHEREAS, absent consensual resolution of disputes relating to the Subsidy Agreement
 and related matters, Geoffrey intends to commence a lawsuit seeking to avoid obligations under
 the Subsidy Agreement and to disallow claims filed by the Asia JV for the Geoffrey-JV Accrued
 Amount, and the Asia JV disputes all of Geoffrey’s claims and causes of action and believes it is
 entitled to payment in full of the Geoffrey-JV Accrued Amount;

        WHEREAS, Geoffrey and the Asia JV have other disputes or disagreements relating to
 provisions of the Master License Agreement that they wish to resolve;




                                                   3
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                Document    Page 23 of 49


        WHEREAS, the ownership interest in, and entitlement to a copy of the Source Code (as
 defined below) is the subject of ongoing litigation between Toys Delaware and the Asia JV, Toys
 “R” Us (Asia) Limited, and Toys “R” Us Japan, Ltd.;
        WHEREAS, Toys Delaware and the Asia JV have been unable to reach agreement
 regarding the terms of a transition services agreement;

         WHEREAS, the Asia JV, Toys "R" Us (Asia) Limited, and Toys "R" Us Japan, Ltd.
 intend to assert damages claims against Toys Delaware arising out of its rejection of the
 ITASSA;

         WHEREAS, various of the Debtors, including the Taj Debtors and the Toys Delaware
 Debtors, have disputes or disagreements regarding the appropriate allocation of professional fees
 incurred by the Debtors’ professionals and advisors, and both the Taj Debtors and the Toys
 Delaware Debtors contend that they have been allocated material fees and expenses that should
 be allocated to the other Debtors, including TRU Inc.;

         WHEREAS, both the Toys Delaware Debtors and the Taj Debtors contend that they
 have other administrative expense claims against TRU Inc., including claims on account of post-
 petition advances and/or adequate protection claims, and both the Toys Delaware Debtors and
 the Taj Debtors have significant pre-petition claims against TRU Inc. on account of
 intercompany loans and/or guarantee claims;

        WHEREAS, both the Creditors’ Committee and the Ad Hoc Group of B-4 Lenders have
 objected to the Plan [Docket Nos. 5445, 5740];

          WHEREAS, the Parties recognize that the outcome of litigation in connection with the
 Plan and the matters referenced above, including the Subsidy Agreement, license-related issues,
 source code litigation, ITASSA rejection issues, transition service agreement disputes, and fee
 allocation issues, is uncertain and may cause the Parties to incur significant costs and suffer
 delay in resolving their disputes, and the Parties seek to avoid the uncertainty, cost, and delay of
 litigating such disputes and have been, therefore, engaged in good-faith, arm’s-length
 negotiations with each other regarding settlement of such disputes;

         WHEREAS, the TRU Inc. Debtors and Toys Delaware Debtors are parties to the Vendor
 Settlement Agreement (as defined below), which, among other things, contemplates the
 establishment of the Non-Released Claims Trust to pursue certain claims and causes of action
 held by TRU Inc. and the Toys Delaware Debtors and their respective estates and creditors;

       WHEREAS, Kramer Levin Naftalis & Frankel LLP, counsel to the Creditors’
 Committee, has authority to execute this Settlement Agreement and any other definitive
 documentation negotiated between the Parties on behalf of the Creditors’ Committee; and

        WHEREAS, the Parties intend to memorialize their settlements and resolutions of
 outstanding disputes by entering into this Settlement Agreement and, in the case of the
 applicable Parties described below, an amendment to the Master License Agreement (and the
 Subsidy Agreement and other related agreements) and a transition services agreement.




                                                  4
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                Document    Page 24 of 49


                                          AGREEMENT

        NOW, THEREFORE, in consideration of the above recitals and the promises and
 mutual covenants and agreements contained herein, and for other good and valuable
 consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties agree as
 follows:

 Section 2.     Definitions and Interpretation.

 2.1            Definitions. The following terms shall have the following definitions:

        “Ad Hoc Group of B-4 Lenders” has the meaning ascribed to it in the Recitals.

       “Ad Hoc Vendor Group” means the ad hoc group of merchandise vendors represented by
 Foley & Lardner LLP, Fox Rothschild LLP; Schiff Hardin LLP; Saul Ewing Arnstein & Lehr
 LLP; Morris, Nichols, Arsht & Tunnell; and Wasserman, Jurista & Stolz, P.C.

        “Administrative Claims” means a Claim for costs and expenses of administration of the
 Debtors’ estates pursuant to sections 503(b) or 507(a)(2) of the Bankruptcy Code.

        “Allowed” has the meaning ascribed to it in the Plan.

        “B-4 Lenders” means the lenders holding the Term B-4 Loans.

        “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

        “Bankruptcy Court” has the meaning ascribed to it in the Recitals.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated
 under section 2075 of the Judicial Code and the general, local, and chambers rules of the
 Bankruptcy Court.

          “Causes of Action” means any claims, interests, damages, remedies, causes of action,
 demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,
 privileges, licenses, liens, indemnities, guaranties, and franchises of any kind or character
 whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
 contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable,
 directly or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort, law,
 equity, or otherwise. For the avoidance of doubt, “Causes of Action” includes: (a) all rights of
 setoff, counterclaim, or recoupment and claims under contracts or for breaches of duties imposed
 by law; (b) the right to object to or otherwise contest Claims or Interests; (c) claims pursuant to
 sections 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; (d) such claims
 and defenses as fraud, mistake, duress, and usury, and any other defenses set forth in section 558
 of the Bankruptcy Code; (e) any state or foreign law fraudulent transfer or similar claim; (f) any
 claims for which the Creditors’ Committee or any other party may seek derivative standing to
 pursue; and (g) any other avoidance actions.

        “Chapter 11 Cases” has the meaning ascribed to it in the Recitals.


                                                  5
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                Document    Page 25 of 49


         “Claim” means any “claim” (as defined in section 101(5) of the Bankruptcy Code)
 against any of the Debtors.

        “Creditors’ Committee” has the meaning ascribed to it in the Preamble.

        “D&O Claims” has the meaning ascribed to it in the Vendor Settlement Agreement.

        “D&O Party” has the meaning ascribed to it in the Vendor Settlement Agreement.

        “Debtor” has the meaning ascribed to it in the Preamble.

        “Disclosure Statement” means the Amended Disclosure Statement for the Second
 Amended Joint Chapter 11 Plan of the Taj Debtors and the TRU Inc. Debtors [Docket
 No. 4552].

         “Final DIP Financing Order” means the Final Order (I) Authorizing the TRU Taj Debtors
 to Obtain Postpetition Financing, (II) Authorizing the TRU Taj Debtors to Use Cash Collateral,
 (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting
 Adequate Protection to the Prepetition Lenders, (V) Modifying the Automatic Stay, and (V)
 Granting Related Relief [Docket No. 745].

        “General Unsecured Claim” has the meaning ascribed to it in the Plan.

       “Geoffrey Debtors” has the meaning ascribed to it in the Preamble and in the Fourth
 Amended Chapter 11 Plans of Toys Delaware Debtors and Geoffrey Debtors [Docket No. 5602].

        “Geoffrey-JV Accrued Amount” has the meaning ascribed to it in the recitals.

        “GSO” has the meaning ascribed to it in the Preamble.

         “Interest” means the common stock or shares, limited liability company interests, limited
 partnership units, preferred interests, and any other equity, ownership or profits interests of any
 Debtor or non-Debtor subsidiary of a Debtor and options, warrants, rights or other securities or
 agreements to acquire the common stock or shares, limited liability company interests, or other
 equity, ownership or profits interests of any Debtor or non-Debtor subsidiary of a Debtor
 (whether or not arising under or in connection with any employment agreement).

        “Interim Compensation Order” means the Order (I) Establishing Procedures for Interim
 Compensation and Reimbursement of Expenses for Retained Professionals and (II) Granting
 Related Relief, entered October 25, 2017 [Docket No. 746].

        “Invoiced Amounts” has the meaning ascribed to it in the Disclosure Statement.

        “ITASSA” has the meaning ascribed to it in the Disclosure Statement.

        “MAP 2005” has the meaning ascribed to it in the Recitals.

        “Master License Agreement” has the meaning ascribed to it in the recitals.



                                                 6
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                       Desc Main
                                Document    Page 26 of 49


        “New Master License Agreement” has the meaning ascribed to it in Section 3.3(a)(1).

         “New Subsidiary License Agreements” has the meaning ascribed to it in Section
 3.3(a)(1).

        “Non-Released      Claims”    has   the   meaning     ascribed     to   it   in   the    Vendor
 Settlement Agreement.

        “Non-Released Claims Trust” has the meaning ascribed to it in the Vendor
 Settlement Agreement.

         “Oracle Data” means the current and historical raw financial data generated by the Asia
 JV and its subsidiaries, including Toys "R" Us (Asia) Limited and Toys "R" Us Japan, Ltd., and
 stored in an Oracle database by Toys Delaware in New Jersey.

        “Party” or “Parties” have the meanings ascribed to them in the Preamble.

         “Petition Date” has the meaning ascribed to it in the Recitals.

        “Plan” has the meaning ascribed to it in the Recitals.

        “Plan Effective Date” means the effective date of the Plan.

        “Prepetition Secured Notes Indenture” means that certain Indenture, dated as of August
 26, 2016, (as amended, novated, supplemented, extended, or restated from time to time) by and
 among Tru Taj LLC and Tru Taj Finance, Inc. as co-issuers, TRU Inc. and certain of its direct
 and indirect wholly-owned subsidiaries in the United States, Europe and Australia, as guarantors,
 and the Prepetition Secured Notes Indenture Trustee.

         “Prepetition Secured Noteholders” means all current, former, and future holders of
 Prepetition Secured Notes.

        “Prepetition Secured Notes” means the 12.00% senior secured notes due August 16, 2021
 issued under the Prepetition Secured Notes Indenture.

        “Prepetition Secured Notes Indenture Trustee” means Wilmington Trust, N.A. as
 indenture trustee under the Prepetition Secured Notes Indenture.

         “Released Taj Claims” shall mean all claims and Causes of Action, including Avoidance
 Actions, against any or all of the Taj Debtors, the Taj D&O Parties, the members of the Taj
 Holders Steering Group, the Holders of the Taj Senior Notes, the Taj DIP Lenders, the Taj DIP
 Notes Indenture Trustee, the Taj Senior Notes Indenture Trustee, the Asia JV and its
 subsidiaries, Fung Retailing Limited, and each of the foregoing parties’ respective officers,
 directors, managers, principals, members, employees, agents, advisory board members, financial
 advisors, partners, attorneys, investment bankers, consultants, representatives, and other
 professionals, in each case solely in their role or capacity for the foregoing parties.




                                                  7
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                Document    Page 27 of 49


         “Secured Term Loan B Credit Agreement” means the Amended and Restated Credit
 Agreement, dated as of August 24, 2010 (as amended, novated, supplemented, extended, or
 restated from time to time) by and among the Bank of America, N.A., as administrative agent,
 Toys Delaware, as borrower, certain of the borrowers’ domestic subsidiaries, as guarantors, and
 the lender parties thereto.

        “Settlement Agreement” has the meaning ascribed to it in the Preamble.

        “Settlement Approval Motion” has the meaning ascribed to it in Section 3.6(a)1.

        “Settlement Effective Date” has the meaning ascribed to it in Section 4.1.

          “Settlement Order” means an order of the Bankruptcy Court approving this Settlement
 Agreement and the compromise and settlement memorialized herein among the Parties pursuant
 to Rule 9019(a) of the Bankruptcy Rules, which Settlement Order shall be consistent with this
 Settlement Agreement in all respects and otherwise in form and substance reasonably acceptable
 to the Asia JV, the Creditors’ Committee and its members, the members of the Ad Hoc Group of
 B-4 Lenders, and the members of the Taj Holders Steering Group, and will be binding on the
 Parties.

       “Settlement Order Effective Date” means the date on which the Settlement Order
 becomes final and non-appealable.

          “Sponsors” means, collectively, (a) Bain Capital Private Equity, LP, (b) Kohlberg Kravis
 Roberts & Co. L.P., (c) Vornado Realty Trust, and (d) funds and entities advised by each such
 entity, and each such entity’s current and former affiliates, who own or owned any equity in the
 Debtors.

        “Source Code” means: in a format and medium reasonably acceptable to the Asia JV and
 Toys Delaware, (a) code for application customization of the Asia Business Enterprise Resource
 Planning systems; (b) code for the Asia business data warehouse systems; (c) point of sale
 application code for the Asia business; and (d) the source code relating to the applications listed
 on Exhibit 1 hereto;

        “Subsidiary License Agreements” has the meaning ascribed to it in Section 3.3(a)(1).

         “Subsidy Agreement” has the meaning ascribed to it in the recitals.

         “Taj Debtors” has the meaning ascribed to it in the Preamble.

        “Taj Holders Steering Group” has the meaning ascribed to it in the Preamble.

        “Taj Senior Notes Guaranty” has the meaning ascribed to it in the Plan.

        “Taj Senior Notes Guaranty Claims” has the meaning ascribed to it in the Plan.

        “Taj Settlement Consideration” means the $1.25 million payment contemplated herein to
 the holders of Taj Senior Notes to be contributed to TRU, Inc. in settlement of, among other


                                                 8
Case 17-34665-KLP      Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                Desc Main
                               Document    Page 28 of 49


 things, the Creditors’ Committee’s objection to the Plan and any professional fee claims Moelis
 & Company could assert against the Taj Debtors or their estates.

        “Term B Lenders” means the lenders holding the Term B-2 Loans, Term B-3 Loans,
 and/or Term B-4 Loans.

        “Term B-2 Loans” means the B-2 term loans maturing on May 25, 2018 provided for by
 the Secured Term Loan B Credit Agreement.

        “Term B-3 Loans” means the B-3 term loans maturing on May 25, 2018 provided for by
 the Secured Term Loan B Credit Agreement.

        “Term B-4 Loans” means B-4 term loans maturing on April 24, 2020 provided for by the
 Secured Term Loan B Credit Agreement.

        “Toys Delaware” has the meaning ascribed to it in the Preamble.

       “Toys Delaware Confirmation Order” means the Order Confirming the Fourth Amended
 Chapter 11 Plans of Toys Delaware Debtors and Geoffrey Debtors [Docket No. 5746].

        “Toys Delaware Debtors” has the meaning ascribed to it in the Preamble and in the
 Fourth Amended Chapter 11 Plans of Toys Delaware Debtors and Geoffrey Debtors [Docket
 No. 5602].

        “TRU Inc.” has the meaning ascribed to it in the Preamble.

        “TRU Inc. Debtors” has the meaning ascribed to it in the Preamble.

         “TRU Inc. Unsecured Notes Trustees” means the 7.375% Senior Notes Indenture
 Trustee and the 8.75% Unsecured Notes Indenture Trustee, collectively (each as defined in the
 Plan).

         “TRU Inc. Unsecured Notes Trustee Fees” means the compensation, fees, expenses,
 disbursements, and indemnification claims of each of the TRU Inc. Unsecured Notes Trustees
 incurred after the Petition Date, including, without limitation, any fees, expenses, and
 disbursements of attorneys, advisors, or agents retained or utilized by any of the TRU Inc.
 Unsecured Notes Trustees.

        “TRU China” has the meaning ascribed to it in the Preamble.

        “TRU Non-Debtor Subsidiaries” has the meaning ascribed to it in the Preamble.

        “TRU Vermont” has the meaning ascribed to it in the Preamble.

         “TSAs” refers to any existing transition services agreements to which Toys Delaware or
 its successor is a party.

        “Vendor Settlement Agreement” means that certain settlement agreement by and among
 the Toys Delaware Debtors and the Geoffrey Debtors and certain holders of Claims and


                                               9
Case 17-34665-KLP     Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                  Desc Main
                              Document    Page 29 of 49


 Interests, including the Creditors’ Committee and certain of its members, the Ad Hoc Vendor
 Group and its members, the Sponsors, and the Ad Hoc Group of Term B-4 Lenders and its
 members, dated as of July 17, 2018.

       “Vendors” refers to Tata Consultancy Services and/or HCL Technologies.

 2.2          Interpretation. For the purposes of this Settlement Agreement:

       (a)            in the appropriate context, each term, whether stated in the singular or the
              plural, shall include both the singular and the plural, and pronouns stated in the
              masculine, feminine, or neuter gender shall include the masculine, feminine, and
              the neuter gender;

       (b)           capitalized terms defined only in the plural or singular form shall
              nonetheless have their defined meanings when used in the opposite form;

       (c)            unless otherwise specified, any reference herein to a contract, lease,
              instrument, release, indenture, or other agreement or document being in a
              particular form or on particular terms and conditions means that such document
              shall be substantially in such form or substantially on such terms and conditions;

       (d)            unless otherwise specified, any reference herein to an existing document,
              schedule, or exhibit shall mean such document, schedule, or exhibit, as it may
              have been or may be amended, restated, supplemented, or otherwise modified
              from time to time; provided that any capitalized terms herein which are defined
              with reference to another agreement, are defined with reference to such other
              agreement as of the date of this Settlement Agreement, without giving effect to
              any termination of such other agreement or amendments to such capitalized terms
              in any such other agreement following the date hereof;

       (e)           unless otherwise specified, all references herein to “Sections” are
              references to Sections of this Settlement Agreement;

       (f)          the words “herein,” “hereof,” and “hereto” refer to this Settlement
              Agreement in its entirety rather than to any particular portion of this Settlement
              Agreement;

       (g)           captions and headings to Sections are inserted for convenience of
              reference only and are not intended to be a part of or to affect the interpretation or
              construction of this Settlement Agreement;

       (h)           references to “shareholders,” “directors,” and/or “officers” shall also
              include “members” and/or “managers,” as applicable, as such terms are defined
              under the applicable laws and in proper context; and

       (i)           the use of “include” or “including” is without limitation, whether stated or
              not.



                                               10
Case 17-34665-KLP     Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                              Document    Page 30 of 49


 Section 3.   Settlement Terms

 3.1          Treatment of Certain Claims

        (a)            Intercompany Releases. Except as specifically set forth herein and other
              than the obligations set forth herein and the agreements entered into in accordance
              herewith, for good and valuable consideration, on and after the Settlement Order
              Effective Date, each Debtor and its estate and the TRU Non-Debtor Subsidiaries
              hereby releases all Claims and Causes of Action, if any, whether known or
              unknown, whether direct or derivative, against each of the other Debtors and their
              estates, including, but not limited to, with respect to intellectual property claims
              of GSO or TRU China as against Toys Delaware, the Source Code and the related
              litigation, and the asserted intercompany receivable owed by Toys “R” Us GmbH;
              provided, however, that to the extent distributions are made to unsecured creditors
              of TRU Inc. under the Plan (other than on account of the Non-Released Claims
              Trust, which is addressed in Section 3.1(f) below), 25 percent of the first
              $6 million of such distributions shall be paid to Toys Delaware.

        (b)           Additional Releases. Except as specifically set forth herein and other than
              the obligations set forth herein and the agreements entered into in accordance
              herewith, for good and valuable consideration, on and after the Settlement Order
              Effective Date: (i) each of the Taj Debtors and the Asia JV (on behalf of itself
              and each of the Asia JV’s subsidiaries) hereby releases all Claims and Causes of
              Action, if any, whether known or unknown, against each of the Geoffrey Debtors,
              the Toys Delaware Debtors, and the TRU Inc. Debtors., and each of the foregoing
              parties’ respective officers, directors, managers, principals, members, employees,
              agents, advisory board members, financial advisors, partners, attorneys,
              investment bankers, consultants, representatives and other professionals solely in
              their role or capacity for the foregoing parties; and (ii) each of the Geoffrey
              Debtors, the Toys Delaware Debtors, the TRU Inc. Debtors and their respective
              estates, hereby releases all claims and Causes of Action, if any, whether known or
              unknown, whether direct or derivative, against the Taj Debtors, Asia JV (and its
              direct shareholders), its direct and indirect subsidiaries, and each of the foregoing
              parties’ respective officers, directors, managers, principals, members, employees,
              agents, advisory board members, financial advisors, partners, attorneys,
              investment bankers, consultants, representatives and other professionals solely in
              their role or capacity for the foregoing parties. The Plan shall be amended to
              remove the release carve-outs relating to the Toys Delaware Debtors and
              Geoffrey Debtors, and both the order confirming the Plan and the order approving
              the Settlement Agreement shall provide that the releases in the Plan and in this
              Settlement Agreement shall be binding on each of the debtors and on all parties in
              interest in their respective cases.

        (c)           Taj Senior Note Guaranty Claim Waiver. Holders of Taj Senior Notes
              shall waive all rights to receive any recovery from the TRU Inc. Debtors on
              account of any Taj Senior Notes Guaranty Claims and the Plan shall be amended
              to so reflect.


                                               11
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16              Desc Main
                             Document    Page 31 of 49


       (d)            GSO/TRU China Resolution. Each of the Debtors, the Asia JV (on behalf
             of itself and its subsidiaries) and the TRU Non-Debtor Subsidiaries hereby
             releases any and all claims, debts or causes of action against GSO or TRU China,
             including as to ownership of intellectual property. All equity interests in GSO
             and TRU China (and thereby the beneficial interest in all assets of GSO or TRU
             China, including any intellectual property rights), will be transferred to Toys
             Delaware or Geoffrey, LLC (or their designated successors), as determined by the
             Ad Hoc Group of B-4 Lenders, free and clear of any such intercompany claims,
             debts or causes of action, and Toys Delaware or Geoffrey LLC (or their
             successors) shall assume ownership of GSO and TRU China subject only to their
             liabilities and contracts with respect to their employees.

       (e)          Treatment of Certain Administrative Claims. The Administrative Claims
             timely asserted by LEGO Systems, Inc. (“LEGO”) and Mattel, Inc. (“Mattel”)
             against TRU Inc. will be recharacterized as General Unsecured Claims against
             TRU Inc. and Allowed pursuant to separate stipulation to be agreed by the
             Debtors, LEGO, and Mattel.

       (f)           Non-Released Claims Allocable to TRU Inc. In accordance with Section
             3.2(k) of the Vendor Settlement Agreement, any proceeds of any Non-Released
             Claims and/or D&O Claims held by or allocable to TRU Inc. shall be allocated
             between creditors of TRU Inc. (other than Toys Delaware) and the beneficiaries
             of the Non-Released Claims Trust (which are creditors of Toys Delaware). Such
             allocation shall be determined by further agreement to be approved by the Court
             or by further order of the Court. For the avoidance of doubt, the Plan does not
             determine the allocation of any such proceeds on account on Non-Released
             Claims and/or D&O Claims held by or allocable to TRU Inc. For the further
             avoidance of doubt, the claims of Toys Delaware against TRU Inc. for any
             proceeds of Non-Released Claims are not released hereunder or under the Plan
             and are instead preserved for the benefit of and transferred to the Non-Released
             Claims Trust and its beneficiaries pending resolution of any Non-Released Claims
             and/or D&O Claims held by or allocable to TRU Inc. For the avoidance of doubt,
             (i) the Released Taj Claims shall not constitute Non-Released Claims or D&O
             Claims being transferred to the Non-Released Claims Trust, and (ii) all other
             Claims and Causes of Action held by the TRU Inc. Debtors and the Toys
             Delaware Debtors against any D&O Party and all other Avoidance Actions held
             by the TRU Inc. Debtors and the Toys Delaware Debtors, including those
             previously preserved in the Vendor Settlement Agreement shall remain preserved,
             and shall be transferred to the Non-Released Claims Trust under the Plan.

       (g)           Avoidance Actions. The Plan shall be modified so that any Avoidance
             Actions belonging to TRU Inc. or its estates or creditors that are not expressly
             released by the Vendor Settlement Agreement or herein shall be preserved and
             transferred to the Non-Released Claims Trust and not released under the Plan. For
             the avoidance of doubt and notwithstanding anything herein to the contrary, the
             only Avoidance Actions held by TRU, Inc. and its estates being released under
             this Agreement are Avoidance Actions held by TRU, Inc. against the Taj Debtors,


                                            12
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                    Desc Main
                             Document    Page 32 of 49


             the Taj Debtors’ D&O Parties, and Taj Noteholders or any other Released Taj
             Claims in exchange for the Taj Settlement Consideration.

       (h)           Geoffrey Claims. In consideration for the compromises and resolutions set
             forth herein, the Geoffrey Debtors agree not to pursue their Claims and Causes of
             Action against the D&O Parties preserved in the Vendor Settlement Agreement.
             For the avoidance of doubt and notwithstanding anything herein to the contrary,
             no claims against any D&O Party held by TRU Inc. or the Toys Delaware
             Debtors are being released under this Agreement or under the Plan, and all such
             claims shall be preserved and transferred to the Non-Released Claims Trust
             pursuant to the Plan and Vendor Settlement Agreement.

 3.2         Other Settlement Terms

       (a)           Cash Consideration to Geoffrey. In consideration of the compromises and
             resolutions set forth herein, including the release of Claims and Causes of Action
             of the Geoffrey Debtors against the Asia JV, the Asia JV (or its subsidiaries) shall
             pay: (1) $3,720,808 to Geoffrey, LLC (or its designated successor) on the Plan
             Effective Date, and (2) $6,000,000 to Geoffrey, LLC (or its designated successor)
             no later than, as applicable (i) April 30, 2019, so long as Toys Delaware or its
             applicable successor has completed performance with respect to the SOW and is
             then in compliance with the Transition Services Agreement in all material
             respects or (ii) if not paid in accordance with clause (i), promptly following the
             completion of performance with respect to the SOW and/or the cure or remedy of
             any applicable material breach of the Transition Services Agreement.

       (b)            Relinquishment of Asia JV Rights to Geoffrey-JV Accrued Amount. On the
             Settlement Order Effective Date, Geoffrey, LLC or its successor shall retain and
             take title to, and the Asia JV shall waive and relinquish all rights to, the entirety of
             the Geoffrey-JV Accrued Amount of $26,279,192 which is all amounts owing
             under the Subsidy Agreement through November 30, 2018.

       (c)           Allocation-related Payment to Toys Delaware. On the Plan Effective
             Date, the Taj Debtors shall pay to Toys Delaware, in settlement of certain fee
             allocation issues and disputes among the Debtors, $3 million in respect of the fees
             and expenses charged, or to be charged, by Prime Clerk LLC in the Chapter 11
             Cases.

       (d)            Oracle Data; Source Code. Toys Delaware shall make good faith efforts
             to start delivering to the Asia JV or its subsidiaries the Oracle Data and Source
             Code immediately after the Settlement Order Effective Date and in any case as
             promptly as commercially practicable if not delivered by the fifteenth (15th) day
             following the Settlement Order Effective Date. Within five (5) days of the Asia
             JV’s receipt of both the Source Code and Oracle Data, the Asia JV (or its
             subsidiaries) shall pay to Toys Delaware (a) $5 million, plus (b) all unpaid
             Invoiced Amounts under the ITASSA, which total $7,592,556. In addition to the
             initial delivery of Source Code and the Oracle Data (i) Toys Delaware shall make


                                               13
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                Desc Main
                             Document    Page 33 of 49


             incremental deliveries of the Oracle Data as reasonably requested by the Asia JV
             from time to time and (ii) any changes to the Source Code in Toys Delaware’s
             possession made by vendors between the initial delivery date and April 30, 2019
             shall also be delivered to the Asia JV. In addition, Toys Delaware shall also
             provide to the Asia JV, upon request of the Asia JV from time to time, any system
             appreciation documents, run-books, scripts or other documents and information
             associated with the Source Code that are reasonably accessible to Toys Delaware.
             For the avoidance of doubt, the Asia JV shall have a perpetual, royalty free right
             and license to use and run the Source Code.

 3.3         Other Agreements

       (a)          License Agreement.

             1.             On or before March 1, 2019, Geoffrey, LLC (or its successor) and
                    the Asia JV, as well as subsidiaries of the Asia JV that are party to the
                    Master License Agreement and/or the subsidiary license agreements
                    entered into pursuant thereto (the “Subsidiary License Agreements”), shall
                    enter into an amended and restated master license agreement (the “New
                    Master License Agreement”) and amended and restated subsidiary license
                    agreements (the “New Subsidiary License Agreements”), which shall
                    include the following material terms:

                    A.             the term of the New Master License Agreement shall be
                           fifteen (15) years from March 1, 2019 and thus shall end on March
                           1, 2034. The Asia JV shall have the option, in its sole discretion,
                           to extend the term of the New Master License Agreement in an
                           unlimited number of 5-year increments past such 2034 termination
                           date;

                    B.             the net royalty rate paid to Geoffrey, LLC (or its successor)
                           under the New Master License Agreement (together with any
                           related agreements, including the Subsidy Agreement) shall be 2%;
                           further, pending any different arrangement mutually agreed by the
                           parties under the New Master License Agreement, effective with
                           respect to the period commencing December 1, 2018, the Asia JV
                           shall pay to Geoffrey, LLC a flat 2.0% royalty and no amounts
                           shall accrue or otherwise be payable under the Subsidy Agreement;

                    C.             Geoffrey, LLC (or its successor) shall receive a minimum
                           of $17.5 million net annually under the New Master License
                           Agreement (subject to equitable downward adjustment in the event
                           that the Asia JV sells all or substantially all of its business in a
                           given country and assigns the applicable New Subsidiary License
                           Agreement in accordance with Section 3.3(a)(1)(E) below to a
                           buyer that agrees to pay minimum royalties sufficient to preserve




                                             14
Case 17-34665-KLP   Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                  Desc Main
                            Document    Page 34 of 49


                           an overall guaranteed minimum for Geoffrey, LLC or its successor
                           of $17.5 million);

                    D.             the non-compete provision of the Master License
                           Agreement shall be amended such that it shall not apply following
                           expiration of the New Master License Agreement pursuant to its
                           terms in 2034 or the date of expiration of any further extension
                           thereof (as applicable);

                    E.             each New Subsidiary License Agreement shall be
                           assignable upon a sale of any business or subsidiary of the Asia
                           JV, or the sale of the Asia JV as a whole, and any sale of the equity
                           of any subsidiary subject to a New Subsidiary License Agreement,
                           or of all or substantially all assets of such subsidiary or of the Asia
                           JV as a whole, shall be subject to the condition that the purchaser
                           of such equity or assets assumes the rights and obligations under
                           the applicable New Subsidiary License Agreement and/or New
                           Master License Agreement;

                    F.            subject to Section 3.3(d), below, and such other provisions
                           as the parties may mutually agree in good faith to amend, the
                           remaining terms of the New Master License Agreement and the
                           New Subsidiary License Agreements shall be materially consistent
                           with the terms of the existing Master License Agreement and the
                           Subsidiary License Agreements (as applicable).

                    The New Master License Agreement and New Subsidiary License
                    Agreements shall be effective as of December 1, 2018. The extension of
                    the term of the Master License Agreement and each of the Subsidiary
                    License Agreements subject to a net 2.0% royalty rate until March 1, 2034
                    (as provided in clause A and B above) is immediately effective upon the
                    effectiveness of this Agreement as against the Geoffrey Debtors and the
                    Asia JV and its subsidiaries. The provisions of clauses (B) through (E)
                    above shall take effect automatically on March 1, 2019 if the parties have
                    not then entered into the New Master License Agreement and New
                    Subsidiary License Agreements.         Except as modified by Section
                    3.3(a)(1)(B) above, the terms and conditions of the Master License
                    Agreement and each of the Subsidiary License Agreements shall
                    otherwise remain in effect pending execution of the New Master License
                    Agreement and New Subsidiary License Agreements.

                    Geoffrey, LLC hereby agrees not to assert that the transactions
                    contemplated by the Plan and otherwise disclosed in connection therewith
                    relating to direct or indirect ownership changes in the Asia JV (including
                    among creditors of the Taj Debtors and Fung Retailing Limited) constitute
                    a change of control or otherwise give rise to a termination right under the
                    Master License Agreement or any Subsidiary License Agreement.


                                             15
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                Desc Main
                             Document    Page 35 of 49


       (b)           Transition Services Agreement. Notwithstanding anything to the contrary
             in the Toys Delaware Confirmation Order, on or prior to the Plan Effective Date,
             Toys Delaware and the Asia JV shall enter into a transition services agreement
             (the “Transition Services Agreement”) containing the following material terms:

             1.             Toys Delaware (or its successor) shall continue to provide all
                    information technology services that it provides to the Asia JV (or its
                    subsidiaries) as of the date hereof, and will retain such staffing as is
                    necessary in order to do so, provided Toys Delaware (and its successor)
                    shall not be accountable for the actions/failures of third party vendors.

             2.             Toys Delaware (or its successor) will covenant to use reasonable
                    best efforts to use existing resources and make them available as and when
                    needed to complete the Statement of Work (under the column heading
                    “SSC Services Required”) attached hereto as Exhibit 2 (the “SOW”) and
                    assist the Asia JV and its subsidiaries in migrating off Toys Delaware
                    services prior to April 30, 2019. The costs with respect to the SOW will
                    be borne by Toys Delaware (or its successor). In the event of future
                    material work requests by the Asia JV not covered by the SOW, the
                    parties will negotiate in good faith with respect to scope, timing, cost, and
                    allocation of responsibility and the Asia JV will be responsible for
                    paying/reimbursing all incremental costs (including of third party vendors
                    and/or incremental Toys Delaware staffing) associated therewith.

             3.             Toys Delaware shall appoint a project manager from existing staff
                    to oversee the transition and work relating to the SOW and coordinate
                    with a project manager appointed by the Asia JV.

             4.             Toys Delaware (or its successor) will covenant that its existing
                    resources shall, to the extent necessary to meet the obligations to and
                    requests of the Asia JV under the Transition Services Agreement, spend an
                    amount of time providing services to the Asia JV (including with respect
                    to the SOW and related tasks) generally commensurate with the Asia JV’s
                    payments under the Transition Services Agreement as compared to the
                    payments under the other transition services agreements to which Toys
                    Delaware (or its successor) is party.

             5.            Toys Delaware (or its successor) will give the Asia JV and any
                    contractors it may hire reasonable access to its shared service center and
                    its employees.

             6.            The Asia JV (or its subsidiaries) shall pay a $1.5 million monthly
                    fee under the Transition Services Agreement beginning as of December 1,
                    2018.

             7.           The Transition Services Agreement shall terminate on April 30,
                    2019 absent mutual agreement on an extension. For the avoidance of



                                             16
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                             Document    Page 36 of 49


                    doubt, Toys Delaware (and its successor) has no obligation to ensure that
                    the transition or migration of the Asia JV or its subsidiaries from Toys
                    Delaware’s (or its succesor’s) systems or services be completed by any
                    specific date, or at all.

       (c)           Private Label. The Asia JV and Geoffrey, LLC (or its successor) shall
             work cooperatively and in good faith to document and clarify their future
             relationship with respect to private label goods, based on the following principles,
             which shall be operative provisions of this Settlement Agreement, pending
             execution of the subsequent documentation just referenced: (i) the Asia JV may
             source private label goods and continue to use Authorized Marks independent of
             Geoffrey, LLC, subject to existing brand standards, style guides, compliance
             audits and related provisions in the existing Master License Agreement and
             international product safety standards; (ii) Geoffrey, LLC, in consultation with the
             Asia JV, shall implement a streamlined and standardized process to approve
             existing and new SKUs; the Asia JV will not be required to remove products from
             shelves (other than to the extent such products violate applicable law) or to cease
             sourcing existing SKUs pending implementation of the streamlined and
             standardized approval process; and Geoffrey will not unreasonably withhold or
             delay approval of any SKUs; (iii) the Asia JV has no rights to use existing or
             future product molds or product designs owned by Geoffrey, LLC (and without
             limitation or waiver of the foregoing, Geoffrey, LLC shall use commercially
             reasonable efforts to compile a comprehensive schedule of such existing molds
             and designs to be agreed upon by the Asia JV); and (iv) the Asia JV and Geoffrey
             each has the right, but not the obligation, to buy private label goods sourced by
             the other at mutually agreeable pricing.

       (d)          Information Rights.

             1.             Upon entry of the Settlement Order Effective Date, on a one time
                    basis, to the extent already existing or created in the ordinary course of
                    business, and subject to a reasonable confidentiality agreement pursuant to
                    which Licensor will be liable for any breach thereof by its financing
                    sources and/or representatives, the Asia JV shall provide the following
                    financial information to Geoffrey, LLC (or its successor TRU Kids, Inc.):
                    (a) the Asia JV’s most recent 5-year financial plan, including store-count
                    number, projections by country and the principal assumptions underlying
                    such plan; (b) three years of historical financial statements, including
                    current cash positions and debt levels; and (c) an organizational chart
                    showing the new ownership structure for the Asia businesses and holding
                    companies.

             2.             The New Master License Agreement referenced in Section
                    3.3(a)(2) above shall require, to the extent permitted by law, the Asia JV
                    to provide Geoffrey, LLC or its applicable successor (“Licensor”) with the
                    following, subject to a reasonable confidentiality agreement pursuant to
                    which Licensor will be liable for any breach thereof by its financing


                                              17
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                  Desc Main
                             Document    Page 37 of 49


                    sources and/or representatives: (a) three-year (or any longer period that
                    the Asia JV prepares in its discretion) rolling financial projections and
                    store-count number projections on an annual basis in form and substance
                    consistent with the Asia JV’s internal use; (b) unaudited quarterly and
                    audited annual financial statement reporting in form and substance
                    consistent with that contemplated by the form of Second Amended and
                    Restated Shareholders Agreement of the Asia JV filed in connection with
                    the Plan; (c) monthly revenues by territory; (d) such other readily
                    available financial information regarding the business of the Asia JV as
                    Licensor may reasonably request in connection with its financing
                    activities, provided such requests shall not interfere with the ordinary
                    course conduct of the business of the Asia JV; and (e) semi-annual calls
                    with the chief financial officer and/or chief executive officer of the Asia
                    JV to discuss the business of the Asia JV. For the avoidance of doubt, (x)
                    the information rights in subparagraphs (a)-(e) shall fall away if the New
                    Master License Agreement is assigned by Licensor to, or Licensor’s
                    equity is acquired directly or indirectly by, a retailer (whether brick-and-
                    mortar and/or e-commerce/online) that operates in any of the territories in
                    which the Asia JV or any of its subsidiaries then operate or may operate
                    under the New Master License Agreement and that competes with the
                    Asia JV or any of its subsidiaries in the sale of toys or baby products (a
                    “Competitor”) and (y) under no circumstance shall Licensor provide any
                    information received pursuant to subparagraphs (a)-(e) of this paragraph to
                    (i) any Competitor or (ii) any entity that is not a Competitor unless that
                    entity (A) executes a confidentiality agreement reasonably acceptable to
                    the Asia JV and (B) reasonably needs such information in connection with
                    the financing activities of Licensor and/or in connection with an
                    investment in or acquisition of Licensor. For the further avoidance of
                    doubt, product brand licensing companies that do not own multiple brands
                    that sell substantial lines of toys and baby products in any of the territories
                    (e.g., Iconix Brand Group, Sequential Brand, Global Brand Groups,
                    Authentic Brands) will be deemed not to be Competitors.

       (e)           Asia JV Subsidiaries. To the extent any direct or indirect subsidiary of the
             Asia JV is expressly required hereunder to be a party to any of the agreements or
             undertakings contemplated hereunder (including by executing a New Subsidiary
             License Agreement pursuant to Section 3.3(a)(1)), the Asia JV shall use best
             efforts to cause such subsidiary to execute such agreement on the terms set forth
             herein.

       (f)           France. Geoffrey, LLC shall enter into a license agreement with Jellej
             Jouets based on the terms attached hereto as Exhibit 3, with such terms becoming
             applicable as of January 15, 2019. Prior to January 15, 2019, the License
             Agreement dated February 1, 2009, as amended December 21, 2010, shall remain
             in effect in France.

 3.4         Allocation of Funds.


                                              18
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                  Desc Main
                             Document    Page 38 of 49


       (a)           Allocation of Cash held at MAP 2005. The TRU Inc. Debtors shall
             allocate the cash held at MAP 2005 as follows: (a) $1.25 million to the Taj
             Debtors in settlement of certain intercompany fee allocation disputes; provided,
             however, that such amounts shall be contributed to a fund for creditors of TRU
             Inc. (to be distributed in accordance with the Plan and this Agreement) as the Taj
             Settlement Consideration; (b) $1.25 million to Toys Delaware (for the benefit of
             the Term B Lenders) in settlement of certain intercompany fee allocation
             disputes; (c) Munger, Tolles & Olson LLP’s documented fees and expenses in an
             amount that shall not exceed $750,000; (d) Ronald Page, PLC’s documented fees
             and expenses in an amount that shall not exceed $100,000; (e) Ducera
             Partners LLC’s documented fees and expenses in an amount that shall not exceed
             $1.833 million; (f) except as previously approved in the Toys Delaware
             Confirmation Order, or as otherwise agreed to by Moelis and the Term B Lenders,
             $1.75 million to Moelis & Company, which shall fully and finally resolve any and
             all claims of Moelis & Company against any and all of the Debtors; (g) the
             Creditors’ Committee professionals’ (other than Moelis & Company) documented
             fees and expenses allocated to TRU Inc. in an amount that shall not exceed $1.6
             million; and (h) the TRU Inc. Unsecured Notes Trustee Fees in an amount that
             shall not exceed $950,000. For the avoidance of doubt, the Plan and
             Confirmation Order shall provide that any payments made pursuant to this
             Section 3.4(a) shall not be subject to any contest, attack, rejection, recovery, claw-
             back, recoupment, reduction, defense, counterclaim, offset, subordination,
             recharacterization, avoidance or other claim, cause of action or other challenge of
             any nature under the Bankruptcy Code or applicable non-bankruptcy law. The
             remaining balance of MAP 2005’s cash shall be distributed in accordance with the
             Priority Waterfall in the Plan and, if cash is available for unsecured creditors, the
             allocation agreement reflected in Section 3.1(a) hereof. Following the distribution
             of the specific amounts set forth above, TRU Inc. shall reserve all remaining
             funds pending resolution of any Administrative Claims, including any accrued or
             projected tax Administrative Claims, and shall not make any further distributions
             pending resolution or satisfaction of such claims.

       (b)           Allocation of TRU Vermont Wind-Down. TRU Inc. shall use reasonable
             best efforts to promptly effectuate the wind-down of TRU (Vermont), Inc.
             Following the wind-down of TRU (Vermont), Inc., any cash or other proceeds of
             TRU (Vermont) Inc. shall be distributed to TRU Inc. and shall be distributed by
             TRU Inc. in accordance with the Priority Waterfall in the Plan and, if cash is
             available for unsecured creditors, the allocation agreement reflected in Section
             3.1(a) hereof. Such cash or other proceeds of TRU (Vermont), Inc. shall be
             included in the above-referenced reserve for Administrative Claims and shall not
             be distributed pending resolution or satisfaction of such claims.

       (c)           Allocation of Certain Administrative Claims. TRU Inc. shall be
             responsible for paying no less than two-thirds of Administrative Claims for state
             or federal taxes, if any, for which TRU Inc. and any other Debtor or Debtors are
             jointly and severally liable. If any other Debtor makes a payment on account of
             any tax Administrative Claim for which TRU Inc. is jointly and severally liable


                                              19
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                Desc Main
                             Document    Page 39 of 49


             without TRU Inc. paying two-thirds of the amount thereof, such Debtor shall have
             an Allowed tax Administrative Claim against TRU Inc. for an amount equal to the
             difference between the portion paid by TRU Inc. and two-thirds of such claim.
             The foregoing is without prejudice to the claims of any taxing authority (or the
             joint and several nature thereof) and the rights of the Parties with respect to the
             liability for, amount or priority of any such claims.

       (d)           Allocation of Remaining TRU Inc. Assets. Any other assets, including
             cash at any of TRU Inc., of the TRU Inc. Debtors (other than any recoveries by
             the Non-Released Claims Trust) shall be distributed in accordance with the
             Priority Waterfall in the Plan, subject to the terms hereof, including the
             establishment of a reserve for administrative claims.

 3.5         Professional Fees.

       (a)           In consideration of the compromises and resolutions set forth herein,
             including the payments made hereunder, no Party hereto shall challenge or object
             to the allocation of Professional fees between or among the Debtors’ estates as
             determined by the Debtors and/or the applicable Professionals as of the date
             hereof as set forth in Exhibit 4; provided, for the avoidance of doubt, that Toys
             Delaware shall not object to any reallocations made, or agreed to, by Kirkland &
             Ellis LLP and Kramer Levin Naftalis & Frankel LLP prior to the date hereof and
             shall permit any setoffs between the Taj Debtors and Toys Delaware if necessary
             to effectuate such reallocation. The Debtors’ and Creditors’ Committee’s
             Professionals shall, as required by the Interim Compensation Order, continue to
             allocate their fees and expenses to the applicable Debtors going forward,
             including to TRU Inc., and all Parties’ rights to object to the allowance or
             allocation of any and all such fees and expenses are reserved. This Settlement
             Agreement resolves all outstanding disputes between or among any of the Debtors
             regarding allocation of professional fees and expenses.

 3.6         Commitments Regarding Implementation of the Settlement Agreement.

       (a)          The Debtors shall use good faith efforts to implement this Settlement
             Agreement and the disposition of the Debtors’ chapter 11 cases on the agreed
             terms set forth herein, including:

             1.             filing a motion consistent with this Settlement Agreement and
                    otherwise in a form reasonably acceptable to the Parties (the “Settlement
                    Approval Motion”) with the Bankruptcy Court seeking (i) approval of this
                    Settlement Agreement pursuant to Rule 9019(a) of the Bankruptcy Rules
                    and (ii) waiver of any stay of the Settlement Order pursuant to Rule
                    6004(h) of the Bankruptcy Rules;

             2.            amending the Plan, as applicable, to incorporate the terms of this
                    Settlement Agreement;




                                             20
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                             Document    Page 40 of 49


             3.            cooperating with the Taj Holders Steering Group to resolve
                    outstanding issues relating to the liquidation of the Debtors’ U.K. business
                    and issues relating to liquidating TRU (UK) Noteholder Limited; and

             4.             not taking any action inconsistent with this Settlement Agreement,
                    including entry into any agreement to pursue any auction, sale process, or
                    restructuring transaction for the Debtors inconsistent with this
                    Settlement Agreement.

       (b)          Provided that the Debtors are not in breach of this Settlement Agreement,
             the non-Debtor Parties shall (severally and not jointly):

             1.             use good faith efforts to implement this Settlement Agreement and
                    the transactions and other actions contemplated hereby;

             2.             withdraw any objection to the Plan;

             3.             not (i) further object to, delay, interfere, impede, or take any other
                    action to delay, interfere, or impede, directly or indirectly, with the
                    confirmation of the Plan or (ii) propose, file, support, or vote for, directly
                    or indirectly, any restructuring, workout, plan of arrangement, alternative
                    transaction, including a sale pursuant to section 363 of the Bankruptcy
                    Code, or chapter 11 plan for the Debtors other than the Plan;

             4.             not, nor encourage any other person or entity to, take any action,
                    including (i) initiating or joining in any legal proceeding that is
                    inconsistent with this Settlement Agreement and the allocation and
                    distribution of assets and value set forth in this Settlement Agreement or
                    (ii) delaying, impeding, appealing, or taking any other action, directly or
                    indirectly, that could reasonably be expected to interfere with the
                    approval, acceptance, confirmation, consummation, or implementation of
                    the Plan or the Settlement Agreement, as applicable; and

       (c)           The Debtors and the Taj Holders Steering Group agree that the Creditors’
             Committee’s Challenge Period under the Final DIP Financing Order shall be
             extended through the earlier of (i) 30 days after the termination of this Settlement
             Agreement, or (ii) the Plan Effective Date; provided, that, following entry of the
             Settlement Order the Creditors’ Committee agrees not to file a motion seeking
             standing to pursue a Challenge, unless the Taj Holders Steering Group is in
             breach of the Settlement Order; provided further, that, if prior to the termination
             of the Challenge Period the Taj Holders Steering Group breaches the Settlement
             Order and the Creditors’ Committee files a motion seeking standing to pursue a
             Challenge, then the Challenge Period for the Creditors’ Committee shall be
             extended until the date that is two (2) business days after the Bankruptcy Court
             rules on such request.

       (d)          The Parties shall cooperate with each other in good faith and shall
             coordinate their activities (to the extent possible and subject to the terms of this


                                              21
Case 17-34665-KLP      Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                               Document    Page 41 of 49


               Settlement Agreement) in respect of (a) the implementation of the terms set forth
               in this Settlement Agreement, and (b) the consummation of the transactions
               contemplated by this Settlement Agreement and the allocation and distribution of
               assets and value contemplated by this Settlement Agreement.

        (e)           In no event shall any Party file, permit an affiliate or any other related
               third party to file, or encourage any affiliate or any third party to file, an
               opposition to the Plan, the Settlement Approval Motion or the Settlement
               Agreement.

 Section 4.    Miscellaneous Provisions

 4.1           Settlement Agreement Effective Date.

         This Settlement Agreement shall become effective and binding on the Parties at
 12:01 a.m., prevailing Eastern Time, on the date (the “Settlement Effective Date”) on which all
 of the Parties have executed and delivered to the other Parties pursuant to Section 4.11 hereof
 counterpart signature pages of this Settlement Agreement; provided, however, that no provisions
 of this Settlement Agreement shall be effective as to the Debtors or the Creditors’ Committee
 until the Settlement Order Effective Date.

 4.2           Non-Debtor Parties Representations and Warranties.

       To induce each other Party to enter into and perform its obligations under this Settlement
 Agreement, each non-Debtor Party, severally but not jointly, represents, warrants and
 acknowledges, as of the Settlement Effective Date, as follows:

        (a)             Authority. (A) It is duly organized, validly existing and in good standing
               under the laws of the jurisdiction of its organization and has all the requisite
               corporate, partnership, limited liability company, or other power and authority to
               execute and deliver this Settlement Agreement and the other documents and
               instruments contemplated hereby to which it is contemplated to be a party and
               perform its obligations under this Settlement Agreement and the other documents
               and instruments contemplated hereby to which it is contemplated to be a party,
               and to consummate the transactions contemplated herein and therein, and (B) the
               execution, delivery and performance by it under this Settlement Agreement and
               the other documents and instruments contemplated hereby to which it is
               contemplated to be a party and the consummation of the transactions
               contemplated herein and therein, have been duly authorized by all necessary
               action on its part, and no other actions or proceedings on its part are necessary to
               authorize and approve this Settlement Agreement or the other documents or
               instruments contemplated hereby to which it is contemplated to be a party or any
               of the transactions contemplated herein or therein.

        (b)           Ownership. Other than with respect to the Creditors’ Committee, it is the
               legal owner, beneficial owner, and/or the investment advisor or manager for such
               legal or beneficial owner or discretionary account of such legal or beneficial
               owner of a Claim against and/or Equity Interest in the Debtors, as applicable.


                                                22
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                Document    Page 42 of 49


        (c)             Validity. This Settlement Agreement has been duly executed and
                delivered by it and constitutes its legal, valid, and binding agreement, enforceable
                against it in accordance with its terms.

        (d)              No Conflict. Its execution, delivery, and performance (when such
                performance is due) of this Settlement Agreement does not and shall not (A)
                subject to the actions, consents, and filings referred to in Section 4.2(e) below,
                violate any provision of law, rule, or regulation applicable to it or any of its
                subsidiaries or its or their subsidiaries’ certificates of incorporation or bylaws or
                other organizational documents, or (B) conflict with, result in a breach of, or
                constitute a default under any material contractual obligations to which it or any
                of its subsidiaries is a party.

        (e)            Authorization of Governmental Authorities. No action by (including any
                authorization, consent, or approval), in respect of, or filing with, any
                governmental authority or regulatory body, except such filing as may be
                necessary and/or required for disclosure by the Securities and Exchange
                Commission or pursuant to state securities or “blue sky” laws, is required for, or
                in connection with, the valid and lawful authorization, execution, delivery, and
                performance by it of this Settlement Agreement.

        (f)             No Reliance. It (A) is a sophisticated party with respect to the matters that
                are the subject of this Settlement Agreement, (B) has had the opportunity to be
                represented and advised by legal counsel in connection with this Settlement
                Agreement, (C) has adequate information concerning the matters that are the
                subject of this Settlement Agreement, and (D) has independently and without
                reliance upon any other Party hereto, or any of their affiliates, or any officer,
                employee, agent, or representative thereof, and based on such information as it
                has deemed appropriate, made its own analysis and decision to enter into this
                Settlement Agreement, except that it has relied upon each other Party’s express
                representations, warranties, and covenants in this Settlement Agreement, which it
                enters, or as to which it acknowledges and agrees, voluntarily and of its own
                choice and not under coercion or duress.

 4.3            Debtor Representations and Warranties.

         To induce each other Party to enter into and perform its obligations under this Settlement
 Agreement, each Debtor hereby represents, warrants, and acknowledges, as of the Settlement
 Effective Date, as follows:

        (a)             Authority. Except as expressly provided in this Settlement Agreement and
                subject to the Bankruptcy Code, Bankruptcy Court approval, and/or regulatory
                approvals associated with the Settlement Agreement, Plan, or a structured
                dismissal, as applicable, (A) each of the Debtors is duly organized, validly
                existing, and in good standing under the laws of the jurisdiction of its organization
                and has all the requisite corporate, partnership, limited liability company, or other
                power and authority to execute and deliver this Settlement Agreement and the


                                                 23
Case 17-34665-KLP    Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                             Document    Page 43 of 49


             other documents and instruments contemplated hereby to which the Debtors are
             contemplated to be parties and perform their obligations under this Settlement
             Agreement and the other documents and instruments contemplated hereby to
             which they are contemplated to be parties, and to consummate the transactions
             contemplated herein and therein, and to consummate the transactions
             contemplated herein and therein, and (B) the execution, delivery, and
             performance by such Debtors under this Settlement Agreement and the other
             documents and instruments contemplated hereby to which each such Debtor is
             contemplated to be a party and the consummation of the transactions
             contemplated herein and therein, have been duly authorized by all necessary
             action on the part of such Debtor, and no other actions or proceedings on the part
             of such Debtor are necessary to authorize and approve this Settlement Agreement
             or the other documents or instruments contemplated hereby to which such Debtor
             is contemplated to be a party or any of the transactions contemplated herein or
             therein.

       (b)           Validity. Except as expressly provided in this Settlement Agreement and
             subject to the Bankruptcy Code, Bankruptcy Court approval, and/or regulatory
             approvals associated with the Plan or a structured dismissal, as applicable, this
             Settlement Agreement has been duly executed and delivered by the Debtors and
             constitutes the legal, valid, and binding agreement of the Debtors, enforceable
             against the Debtors in accordance with its terms.

       (c)           No Conflict. Subject to the Bankruptcy Code, Bankruptcy Court approval
             and/or regulatory approvals associated with this Settlement Agreement, the Plan,
             the execution, delivery, and performance by the Debtors (when such performance
             is due) of this Settlement Agreement does not and shall not (A) subject to the
             actions, consents, and filings referred to in Section 4.3(d) below, violate any
             provision of law, rule, or regulation applicable to the Debtors or any of their
             subsidiaries or the Debtors’ or their subsidiaries’ certificates of incorporation or
             bylaws or other organizational documents, or (B) conflict with, result in a breach
             of, or constitute (with due notice or lapse of time or both) a default under any
             material contractual obligations to which it or any of its subsidiaries is a party.

       (d)          Authorization of Governmental Authorities. No action by (including any
             authorization, consent, or approval), in respect of, or filing with, any
             governmental authority or regulatory body, except such filing as may be
             necessary and/or required for disclosure by the Securities and Exchange
             Commission or pursuant to state securities or “blue sky” laws, and the approval of
             the Bankruptcy Court of the Debtors’ authority to enter into and implement this
             Settlement Agreement, is required for, or in connection with, the valid and lawful
             authorization, execution, delivery and performance by the Debtors of this
             Settlement Agreement.

       (e)          No Reliance. Each of the Debtors (A) is a sophisticated party with respect
             to the matters that are the subject of this Settlement Agreement, (B) has had the
             opportunity to be represented and advised by legal counsel in connection with this


                                              24
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                  Desc Main
                                Document    Page 44 of 49


                Settlement Agreement (including its disinterested directors’ counsel, as
                applicable), (C) has adequate information concerning the matters that are the
                subject of this Settlement Agreement, and (D) has independently and without
                reliance upon any other Party hereto, or any of their affiliates, or any officer,
                employee, agent or representative thereof, and based on such information as such
                Debtor has deemed appropriate, made its own analysis and decision to enter into
                this Settlement Agreement, except that the Debtors have relied upon each other
                Party’s express representations, warranties, and covenants in this Settlement
                Agreement, which each of the Debtors enters, or as to which each Debtor
                acknowledges and agrees, voluntarily and of its own choice and not under
                coercion or duress.

 4.4            Termination.

         This Settlement Agreement and the obligations of the Parties may be terminated by
 mutual written agreement of all the Parties, if the Bankruptcy Court (or any court of competent
 jurisdiction) does not approve this Settlement Agreement, or if the Settlement Order is reversed
 or materially modified on appeal.

 4.5            Effect of Termination.

         Upon termination of this Settlement Agreement in accordance with Section 4.4 hereof, all
 obligations of the Parties under this Settlement Agreement shall terminate and shall be of no
 further force and effect; provided, that any claim for prior breach of this Settlement Agreement
 shall survive termination and all rights and remedies with respect to such claim shall be neither
 waived nor prejudiced in any way by termination of this Settlement Agreement.

 4.6            Acknowledgments.

        Notwithstanding any other provision herein, this Settlement Agreement is not and
 shall not be deemed to be an offer with respect to any securities or solicitation of votes for
 the acceptance of a plan for purposes of sections 1125 and 1126 of the Bankruptcy Code or
 otherwise. Any such offer or solicitation will be made only in compliance with all
 applicable securities laws and provisions of the Bankruptcy Code. The relevant Parties
 will not solicit acceptances of the Plan from the relevant Parties in any manner inconsistent
 with the Bankruptcy Code or applicable non-bankruptcy law.

 4.7            Cooperation and Support.

          The Parties shall cooperate with each other in good faith and shall coordinate their
 activities (to the extent possible and subject to the terms of this Settlement Agreement) in respect
 of (a) the filing of the Settlement Approval Motion with the Bankruptcy Court, obtaining
 Bankruptcy Court approval of this Settlement Agreement, the entry of the Settlement Order, and
 the implementation of the terms set forth in this Settlement Agreement, and (b) the
 consummation of the transactions contemplated by this Settlement Agreement.

 4.8            Governing Law; Jurisdiction.



                                                 25
Case 17-34665-KLP          Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16               Desc Main
                                   Document    Page 45 of 49


        (a)             This Settlement Agreement shall be construed and enforced in accordance
                with, and the rights of the Parties shall be governed by, the laws of the State of
                New York, without giving effect to the conflict of laws principles thereof. Each
                Party hereto agrees that it shall bring any action or proceeding in respect of any
                claim arising out of or related to this Settlement Agreement in the Bankruptcy
                Court, and solely in connection with claims arising under this Settlement
                Agreement: (i) irrevocably submits to the exclusive jurisdiction and the
                constitutional authority of the Bankruptcy Court; (ii) waives any objection to
                laying venue in any such action or proceeding in the Bankruptcy Court; and (iii)
                waives any objection that the Bankruptcy Court is an inconvenient forum, does
                not have jurisdiction over any Party hereto, or lacks the constitutional authority to
                enter final orders in connection with such action or proceeding; provided,
                however, that this Settlement Agreement and the releases set forth herein may be
                submitted in any court, arbitration, and/or other legal proceeding to enforce the
                terms of such releases.

        (b)             Each Party hereby waives, to the fullest extent permitted by applicable
                law, any right it may have to a trial by jury in any legal proceeding arising out of,
                or relating to, this Settlement Agreement or the transactions contemplated hereby
                (whether based on contract, tort, or any other theory). Each Party (i) certifies that
                no representative, agent, or attorney of any other Party has represented, expressly
                or otherwise, that such other Party would not, in the event of litigation, seek to
                enforce the foregoing waiver and (ii) acknowledges that it and the other Parties
                have been induced to enter into this Settlement Agreement by, among other
                things, the mutual waivers and certifications in this Section 4.8.

 4.9            No Admission of Liability.

          Each Party enters into this Settlement Agreement without admitting any liability or
 conceding any allegations not already expressly admitted. This Settlement Agreement and its
 provisions shall not be offered or received in evidence in any action or proceeding as an
 admission or concession of liability or wrongdoing of any nature on the part of any Party except
 that it may be offered and received in evidence solely to enforce this Settlement Agreement.

 4.10           Third-Party Beneficiaries.

         Except as otherwise explicitly set forth herein, nothing in this Settlement Agreement is
 intended to benefit or create any right or cause of action in or on behalf of any person other than
 the Parties hereto (and their affiliated persons and entities who are intended to be beneficiaries of
 the releases and settlements to the extent set forth herein); provided, however, that Fung
 Retailing Limited is a third-party beneficiary of this Settlement Agreement and is entitled to the
 rights and benefits provided for it hereunder and may enforce the provisions herein as if it were a
 party hereto.

 4.11           Notices.




                                                  26
Case 17-34665-KLP        Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                 Document    Page 46 of 49


         All notices hereunder shall be deemed given if in writing and delivered, if sent by
 electronic mail, courier, or registered or certified mail (return receipt requested) to the following
 addresses (or at such other addresses as shall be specified by like notice):

        (a)             if to the Debtors, to:

                Toys “R” Us, Inc.
                One Geoffrey Way
                Wayne, New Jersey 07470
                Attention: James Young, General Counsel
                E-mail address: James.Young@toysrus.com

                with copies (which shall not constitute notice) to:

                Kirkland & Ellis LLP
                601 Lexington Avenue
                New York, New York 10022
                Attention: Joshua Sussberg, P.C., Emily E. Geier
                E-mail address: jsussberg@kirkland.com, Emily.geier@kirkland.com

                and

                Kirkland & Ellis LLP
                300 North LaSalle Street
                Chicago, IL 60654
                Attention: Chad J. Husnick, P.C.
                E-mail address: chusnick@kirkland.com

        (b)             if to the Creditors’ Committee, to:

                Kramer Levin Naftalis & Frankel LLP
                1177 Avenue of the Americas
                New York, New York 10036
                Attention:    Kenneth H. Eckstein, Rachael L. Ringer
                E-mail address: keckstein@kramerlevin.com; rringer@kramerlevin.com

        (c)             if to the Ad Hoc Group of B-4 Lenders, to:

                Wachtell, Lipton Rosen and Katz
                51 West 52nd Street
                New York, New York 10019
                Attention:    Joshua A. Feltman
                              Emil A. Kleinhaus
                E-mail address: jafeltman@wlrk.com; eakleinhaus@wlrk.com




                                                  27
Case 17-34665-KLP      Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16               Desc Main
                               Document    Page 47 of 49


        (d)            if to the Taj Holders Steering Group, to:

               Paul, Weiss, Rifkind, Wharton & Garrison LLP
               1285 Avenue of the Americas
               New York, New York 10019
               Attention: Brian S. Hermann, Samuel E. Lovett
               Email addresses: bhermann@paulweiss.com; slovett@paulweiss.com

        (e)            if to the Asia JV, to:

               Quinn Emanuel Urquhart & Sullivan
               51 Madison Avenue, 22nd Floor
               New York, New York 10010
               Attention: James C. Tecce, Daniel Holzman
               E-mail address: jamestecce@quinnemanuel.com;
               danielholzman@quinnemanuel.com


 or such other address as may have been furnished by a Party to each of the other Parties by
 notice given in accordance with the requirements set forth above. Any notice given by delivery,
 mail, or courier shall be effective when received.

 4.12          Entire Agreement.

         This Settlement Agreement, including any exhibits, annexes, and/or schedules hereto and
 the exhibits, annexes, and/or schedules thereto, constitutes the entire agreement between the
 Parties concerning the subject matter of this Settlement Agreement and supersedes all prior
 negotiations, agreements, and understandings, whether written or oral, between and among the
 Parties concerning the subject matter of this Settlement Agreement. Each of the Parties hereto
 acknowledges that it is executing this Settlement Agreement without reliance on any
 representations, warranties, or commitments other than those representations, warranties, and
 commitments expressly set forth in this Settlement Agreement.

 4.13          Modification or Amendment.

          This Settlement Agreement may be modified or amended only by written agreement
 executed by: (i) the Debtors, (ii) the undersigned members of the Ad Hoc Group of B-4 Lenders,
 (iii) the undersigned members of the Taj Holders Steering Group, (iv) the Creditors’ Committee,
 and (vi) the Asia JV.

         The Parties may extend or modify any dates in this Settlement Agreement via
 e-confirmation.

 4.14          Further Assurances.

         From and after the Settlement Effective Date, each of the Parties agrees to use their
 respective reasonable best efforts to execute or cause to be executed and deliver or cause to be
 delivered all such agreements, instruments and documents and take or cause to be taken all such


                                                28
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                Document    Page 48 of 49


 further actions as may reasonably be necessary from time to time to carry out the intent and
 purpose of this Settlement Agreement, and to consummate the transactions contemplated hereby
 and thereby.

 4.15           Successors and Assigns.

        Except as otherwise provided in this Settlement Agreement, this Settlement Agreement is
 intended to bind and inure to the benefit of each of the Parties and each of their respective
 successors, assigns, heirs, executors, administrators, and representatives.

 4.16           Interpretation.

        This Settlement Agreement is the product of negotiations among the Parties, and the
 enforcement or interpretation of this Settlement Agreement is to be interpreted in a neutral
 manner and in accordance with section 102 of the Bankruptcy Code; and any presumption with
 regard to interpretation for or against any Party by reason of that Party (or its counsel) having
 drafted or caused to be drafted this Settlement Agreement or any portion of this Settlement
 Agreement, shall not be effective in regard to the interpretation of this Settlement Agreement.

 4.17           Settlement Discussions.

         This Settlement Agreement and the transactions contemplated herein are part of a
 settlement among the Parties. Nothing herein shall be deemed an admission of any kind. To the
 extent provided by Federal Rule of Evidence 408, any applicable mediation privileges, and any
 applicable state rules of evidence, this Settlement Agreement and all negotiations relating thereto
 shall not be admissible into evidence in any proceeding other than a proceeding to enforce the
 terms of this Settlement Agreement.

 4.18           Specific Performance.

         It is understood and agreed by the Parties that money damages would be an insufficient
 remedy for any breach of this Settlement Agreement by any Party, that such breach would
 represent irreparable harm, and that each non-breaching Party shall be entitled to specific
 performance and injunctive relief (without the posting of any bond and without proof of actual
 damages) as a non-exclusive remedy for any such breach, including an order of the Bankruptcy
 Court or other court of competent jurisdiction requiring any Party to comply promptly with any
 of its obligations hereunder; provided, that each Party agrees to waive any requirement for the
 securing or posting of a bond in connection with such remedy.

 4.19           Execution of Agreement.

         This Settlement Agreement may be executed in counterparts, and by the different Parties
 hereto on separate counterparts, each of which when executed and delivered shall constitute an
 original. Delivery of an executed counterpart by facsimile or electronic mail shall be equally as
 effective as delivery of an original executed counterpart.




                                                 29
Case 17-34665-KLP       Doc 5922 Filed 12/11/18 Entered 12/11/18 15:37:16                 Desc Main
                                Document    Page 49 of 49


 4.20           Non-Severability of Agreement.

         This Settlement Agreement is to be construed as a whole, and all provisions of it are to be
 read and construed together. Notwithstanding anything in this Settlement Agreement or the
 Settlement Order to the contrary, and in light of the integrated nature of the settlements and
 compromises embodied in this Settlement Agreement and the Settlement Order, in the event that
 (a) a court of competent jurisdiction enters a final order ruling that any of the provisions of this
 Settlement Agreement or the Settlement Order are void, invalid, illegal, or unenforceable in any
 material respect, or (b) any of the provisions of this Settlement Agreement or the Settlement
 Order are reversed, vacated, overturned, voided, or unwound in any material respect, then in
 each case, the entirety of this Settlement Agreement (other than this Section 4.20) shall be void
 ab initio and of no force and effect and, during any subsequent proceeding, the Parties shall not
 assert claim preclusion, issue preclusion, estoppel or any similar defense in respect of rights and
 claims of the Parties that were the subject of this Settlement Agreement prior to this Settlement
 Agreement being of no force or effect.



                                      [Signature pages follow]




                                                 30
